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                        EXHIBIT 1
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      7                                       UNITED            STATES          DISTRICT               COURT
      8                                      EASTERN            DISTRICT          OF        CALIFORNIA

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 i0       JERRY VALDIVIA,  ALFRED YANCY,
          and HOSSIE WELCH, on their own
 Ii       behalf and on behalf of the class
          of all persons similarly situated,
 12                                                                                               NO.    CIV.        S-94-671           LKK/GGH
                               Plaintiffs,
 13
                   v.                                                                                         ORDER
 14
          ARNOLD SCHWARZENEGGER, Governor of
15        the State of California, et alo,

16                             Defendants.
17

18                 Based        on    the    factual             observations                and        recommendations                 of    the
19        Special        Master        described            in    his      Third        Report           of    the     Special          Master
20        on    the     Status         of    the     Condition              of    the         Remedial           Order,           the     court
21        ORDERS        that     defendants           must         undertake                and     sustain          work     toward          the
22        earliest        practical            solution               to   providing               due        process        to    parolees
23        who     appear,             either         in         the        judgment               of      their         attorneys              or

24        defendants'            staff,        too    mentally              ill        to     participate               in    revocation
25        proceedings.               These    efforts            must      be    undertaken               in    consultation                 with
26        plaintiffs'           counsel        and        the     Special         Master.               Defendants           are    further
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      1     ORDERED    as        follows:

      2           i.         Defendants            must        provide            progress               updates               to     the        Special
      3                     Master          and         plaintiffs'                    counsel                every             three                weeks,
      4                     beginning             three        weeks           from     the        date        of    this           order,                until
      5                     the          Special          Master               determines                 .they               are      no            longer
      6                     necessary.
      7           2.        By March          i,        2008,            the     defendants                   must            provide                to     the
      8                     Special         Master         and           plaintiffs'                counsel               a     status               report
      9                     on     the    development                of    policies               and     procedures concerning
 i0                         this         population.                 The         policies                 and         procedures                          must
 ii                         include         methods            to    expedite               treatment               and        to    provide                due
 12                         process         and     full        rights           under            the     Permanent                  Injunction.
 13               3.        By     March          15,      2008,               defendants                must         provide                    to         the
14                          Special         Master             and        plaintiffs'                    counsel               the         standards
15                          defendants             intend           to     use    to        determine                whether               a    parolee
16                          is     unable          to     participate                       meaningfully                       in     revocation
17                          proceedings,                by virtue                of     mental            illness,                   and        whether
18                          that         ability         has        been         regained.                The        standards                       should
19                          identify         the        types        of        staff         or     other           service            providers
20                          responsible             for        applying               the     standards.
21               4.         By April         3,         2008,        the         defendants                   must        provide                to        the
22                          Special        Master         and        plaintiffs'                    counsel           a        detailed                   plan
23                          for     implementing                these           policies                and     procedures                      and        for
24                      training             all        affected               CDCR         staff        and        CalPAP            attorneys.
25                      The        plan     must         specify               associated                funding               and     timelines
26                      regarding                 the      implementation                           process,                   and             any         new


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      1                         resources            required.
      2             5.          By     June    15,     2008,     these      policies     and    procedures      must    be
      3                         implemented.
      4             The     Special           Master    may,     in   his    discretion,        grant    an   extension
      5     of    time    on     any     of    these     deadlines          upon   either      party's    request      and
      6     a    showing        of    good     cause.

      7             IT     IS    SO     ORDERED.

      8             DATED:           January 14,         2008.

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                                                           UNITED        STATES     DISTRICT     COURT
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                        EXHIBIT 2
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                                                                           CLERK, U,8.OJSTRICT COURT
                                                                         EASTERN DISTRICT OF CALIFORNIA

                            IN THE UNITED STATES DISTRICT COURT
                          •OR THE EASTE• DIST•CT OF C•IFO•


    VALDIVIA, et al.,
           Plaintiffs,
                                                             No. CIV S-94-671 LKK/GGH

    ARNOLD      SCHWARZENEGGER, et aL,
           Defendants.
                                              /



                         FIRST REPORT OF TH.E SPECIAL MASTER
                                  ON THE STATUS OF
                         CONDITIONS OF THE REMEDIAL ORDER


                                      Background
           On May 2, 1994, the Valdivia vs. Schwarzenegger class action lawsuit was filed.

   The Court certified the ease as a class action by order dated December 1, 1994. On June

   13, 2002, the Court granted partial summary judgment in favor of the Plaintiffs. On July
   23, 2003, the Court ordered the Defendants to submit a remedial plan, with specific
   guidance regarding: "...a prelimin•¢y probable cause hearing which (1) occurs no more
   than ten calendar days after a parolee is taken into custody for an alleged parole violation,

   and (2) affords the parolee rights provided by Morriz'sey, i•eluding notice of the alleged
Case
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              Time calculation issues, such as denial of work time credits if a parolee                   on
              revoked status remains in a non-CDCR facility

              Exclusion of parolees with disabilities from romedial sanctions such              as    the
              Parolee Substance Abuse Program

              Whether providing psyehotropie medication, is an           obligation for carrying out
              effective communication with mentally ill parolees



                                  Relationship to Other Cases
              In practical terms, a variety of issues in Vatdivia v, Schwarzenegger arguably

    overlap with concurrent remedial orders in Coleman v. Sehwarzenegger and,4rmstrong v.
    Schwarzenegger, Coleman
              Defendants have     not   submitted to the Special Master any positions about the
    potential re]adonslaip of the practices in these lawsuits. Plaintiffs maintain that these areas
   overlap between Coleman and l/aldivia:
                 *   Pre-release and discharge planning
                 o
                     Mentally ill parolees' technical violations
                 o   Psychiatric revocations
                 •
                     Remedial sanctions, overcrowding, and reception centers
           Pre-release and       diseharg.o_ planning: Plaintiffs argue that CDCR's        failure to
   provide mentally ill inmates who have impending paroles with adequate pre-zelease
   planning     and treatment,     as   well   as   post-release services,   results in their   being
   immediately vulnerable to revocation, especially for being unable to obtain appropriate
   housing or treatment for mental illness in the community. Plaintiffs argue that CDCR's
   actions or omissions led to these violations and that a subsequent revocation proceeding

   is therefore fundamentally unfair, making it a IZaldivia issue.




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             The   Special Master declines    to   adopt Plaintiffs' view, The complained of
    practices concern services provided or omitted by staff outside DAPO             and BPH and
    outside due process procedures and provision of'remedial sanctions, While Plaintiffs seek

    to   require services that are arguably much needed, Valdivia is not a source mandating
    them.

             Technical violations: Plaintiffs also say that Defendants send some       mentally ill
   parolees back to orison essenlially for being mentally ill, Plaintiffs say that Defendants
   revoke a large number of these patients' paroles on technical violations as a substitute for

   their genuine reasons, and that the parolee behaviors underlying the revocations          spring
   from the lack of treatment resources in the community,

            Again, while there is ample reason to believe there is great need for more
   community rncntal health treatment, Plaintiffs' argument appears to be based, not in
   Valdivia mandates, but in judgments about the quality of decisions that are within DAPO

   and BPH discretion, As such, the Special Master is not convinced that this is a matter for

   the Valdivia court.

            Psychiatric revocations: Under Title XV, DAPO             and BPH staff may     give a
   mentally ill parolee a one-year revocation term on the basis that his/her mental illness is
   not in remission      and makes him/her likely to commit    a   crime   ("psych returns"). This
  presupposes that the revocation is for purposes of treatment while incarcerated, and the
  full term must be served unless a CDCR elinieiaa certifies mental health improvement

  sufficient for earlier release. Plaintiffs' counsel,    on   June    15, 2006,   sent notice to

  Defendants that Plaintiffs believe Defendants are in violation of the Valdivia Permanent
  Injunction by continued use oft.he psychiatric return process. In August 2006, Defendants


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   told all parties that they had decided to cease using the psych return process. Some issues

   remain, however, as staff have not yet been notified of the change in policy and some
   parolees may eondnue to be revoked under these provisions for a time, and Defendants
   have a number of parolees currently in custody under these terms.

            Plaintiffs state in their notice: %.. the psychiatric return process presents serious

   due process concerns, and results in severely          mentally ill parolees being placed in
   dangerous and. life threatening situations. Both procedural problems in the psychiatric
   return process, and the use itself of psychiatlic returns given the lack of adequate mental

   health care in the prison system,         implicate the underlying concerns of the Permanent
   Injunction..."
       The Plaintiffs' notice continues: "Defendants' current psychiatric returns practices are

   rife with     procedural   defects that    directly violate specific terms of the Permanent
   Injunction:
       •   Withholding psychiatric evaluations from parolees' appointed counsel;
       •
           Failure to timely serve mentally ill parolees with notice of charges;
       •   Failure to hold timely revocation hearings for mentally ill parolees;
       •   Failure to provide mentally ill parolees the opportunity for meaningful
           participation in revocation hearings; and
      •
           The systematic exelusion of parolees with serious mental illness from remedial
           sanction programs.'"
      The basis for these latter allegations is as yet unclear. A BPH review identified 44

  parolees revoked under these terms in 2005, and examining them gives                an   initial
  indication of the handling of these eases. They were not concentrated in any particular

  parole units or regions.
           Notice showcd       some   of the    problems inherent in this process. Five men
  apparently were never served and notes indicate another three impressed the notice agent


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     as   notunderstanding what had transpired. The charges seven men recei red in the notice
     of rights concerned •tions other than the psych return provisions. These were revised by
    t.he RTCA step and, while one cannot determine whether the parolee was independently

    advised of this, attorneys had the information when                 they usually receive the cases.
    Attorneys say they routinely receive the mental health evaluations and reports.
                Many      of these   probable      cause   hearings   were     held   substantially beyond
    timeframes, About 61%            wcre   held   timely, with most of the remainder experiencing
    lengthy delays of one week to 2½ months. Occasionally, it appeared that the probable
    cause       hearing did not occur. One cannot determine much about contributors to these
    delays.
                The Parole    Outpatient Clinic clinician does not participate at this step and,
   consequently, this step otten contributes little. Patients who are in or nearing an a•ute
    state when returned to custody wait            a   minimum of 35 days for treatment, unless they
    deeompensate and are sent to an inpatient: unit. It seems advisable to reconsider clinician
   testimony at the probable cause hearing, routinely expediting the revocation hearing, or
   some     other method to reduce what appears to be known and preventable lengths of time.
                Only 64% of these parolees' revocation hearings were either held timely or
   concluded at the probable cause hearing step. Eight more were unnecessary, though three

   parolees were held over several weeks before the decision was made. The remaining
   hearings were held from 10 days to 7 weeks late. Most late hearings were not explained,
   but there       were    occasional, troubling        eases   where Parole     Outpatient   Clinic staff
   unavailability or failure to supply an evaluation delayed hearings up to two months after
   the deadline.



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                As to outcomes,      one   quarter of these cases were dismissed and this occurred at
    several stages of the process. The rest were given the full year term, with one cxceptlon,

    and defendants report that only two of these pazolees were released before serving the full

    year.
               Certainly, it is undisputed that such parolees may or may not get treatment                the

   purpose of the revocation           depending on their length of stay in Reception Centers, which
    are     staffed   only for screening and not for treatment. It also appears that clinicians
   commonly           are   not familiar   with the assessments needed to determine whether the
   parolees are stabilized sufficient for release, so there is a substantial risk that these
   parolees are held for months longer than necessary.
               In late August, Defendants convened           an   interdisciplinary task force to address
   several issues           affecting the patients cttrrently held under psych return provisions.
   Defendants committed to identifying all current and future eases; iml•roving                 access        to
   treatment; determining evaluation standards for clinicians to apply; evaluating all such
   patients; and addressing a variety of issues related to ongoing evaluation, patient release,
   and    community placement. Defendants committed to routine communication practices
   on-point with the Special Master and Plaintiffs' counsel.


                        The Special Master's team has not yet examined this issue sufficiently.

                        We have neither a clear sense of the numbers of Valdivfa class members

                        involved nor their impact on resolving Coleman issues. This will be a
                        priority issue in the coming term.




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              P,.•medial sanctions, overcrowding, and r•c•ption cent,s: The complex questions

     of the rapidly oxpandhlg prisoner and parole revocation populations, and the reasons for

     this, have implications for, and impact on, the Valdivia and Coleman classes. With
    reports of substantial staffing vacancies in the system, it is predictable that most
    classification, clinical, and custody processes arc not prepared to keep pace with the
    volume. As assigned beds become        impacted in CDCR, predictably prisoners will spend
    longer periods in Reception Centers, which, as noted, do not provide treatment according
    to   Coleman's Icvcls of carc for mcatally iIl prisoners and parolccs awaiting revocation
                                                                                                     or

    serving revocation terms.
             While the numbers have not yet been established, obsc•rvers note it is common for
    mentally ill parolees to incur technical violations resulting in short revocation terms;
    under current CDCR      conditions, it is increasingly likely that those terms are too short for
    them ever to transfer to a facility offering their nc•ed level of care during that t•n, and
    that such a cycle commonly repeats.

             Whether and how 'much the use, or lack, of rornedi• sanctions contributes to

    population pressures in Reception Centers, or can all•iate th•n, is an open qucstion of
   great significance, as is the question of how best to provide programming that meets the
   mandates of both lawsuits, the objectives of correeting parolee behavior and increasing

   successful paroles, and patients' clinical needs.



                •   Again, the Special Master's        team   has not yet examined this issue
                    sufficiently. This will be a priority issue in the coming term.




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                           FOR THE EASTERN DISTRICT OF CALIFORNIA                                  JUN I 1 2007
                                                                                             CLERK U,S. OISTFIICT COURT
                                                                                                   •IST, RI.G'r)OF CALtFORf,
     VALDIVIA,. et al.,                                                                 EASTERN
                                                                                       m,,           t•t=•,
            Plaintiffs,
                                                            No, CIV S-94-671 LKK/GGH
    ARNOLD       SCHWARZENEGGER, et al.,
           Defendants.



                          SECOND REPORT OF THE SPECIAL MASTER
                                  ON THE STATUS OF
                          CONDITIONS OF THE REMEDIAL ORDER


                                         Background
            On   May 2, 1994, the Valdivia vs. Schwarzenegger lawsuit was filed. The Court
   certified the ease as a class action by order dated December 1, 1994. On June 13, 2002, the

   Court   granted partial summary judgment in favor of the Plaintiffs. On July 23, 2003, the
   Court ordered the Defendantz to submit a remedial plan, with      specific guidance regarding
   "...a preliminary probable cause hearing which (1) occurs              than ten calendar days
                                                                no more

   after a parolee is taken into custody for an alleged parole violation, and      (2) affords the
   parolee rights provided by Morrissey, including notice of the alleged violations, the
   opportunity to appear and present evidence, a conditional right to confront "adverse
   witnesses, an independent decision-maker, and a written report of the hearia•g."
           On March 8, 2004, the Court entered the Stipulated Order for Permanent      Injunctive
   Relief ("Permanent      Injunction") containing the agreed-upon elements of the settlement
  temps. On July   1, 2004, the Defendants submitted a variety of policies mad procedures to the
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    sanctions. The memo              was     not   released to the field quickly thereafter, as negotiated;          as    of

    this   writing, it had not been released. A more comprehensive memorandum                                      mlother
    feature of the Stipulation                   has been drafted and the parties are scheduled to negotiate its

    contents     on   May 31, 2007 and thereafter.
               The parties achieved the level of detail and specificity desired in some                    areas    of the
    remedial plan           throngh        the     stipulated   order. More   will be necessary       as     continued
    negotiations address access regionally and by special populations, the nature and scope of
    structured       supervised environments and self-help outpatient/aftercare programs
                      and

    available, and development of particular programs and strategies. Likewise Defendants
    must     demonstrate that they have methods of program                    tracking and evaluation. There is
   progress in         reaching agreement on a viable remedial sanctions plan.                    A        mtmber          of
   outstanding questions regarding plan outcomes and implementation require resolution.
                                                 Mentally Ill Parolees
              The panics concentrated                on   two somewhat   overlapping issues related to parolees'
   mental illness: (1) revocations pursuant to Cal, Code of Reg., Title 15, Section 2467.1 a•ld

   related    provisions; and (2) due process for parolees unable to participate in revocation
   proceedings by virtue of their mental illness.
             The parties l•ad long been in conflict over the means                  by which revocations were
   handled trader the above-cited regulation, referred to as "psych returns." In 2005 and 2006,

   the   parties had "meet and confer" sessions, information requests were exchanged, and
   Defendants convened           a    multi-division task lbrce to attempt to improve practices. Absent

   demonstrable change, on June 15, 2006, Plaintiffs' counsel issued a Notice of Violation.




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              The regulations    permit revocation on the basis of "...conduct indicating that the
    parolee's mental condition has deteriorated such that the parolee is likely to engage in
    future criminal behavior."       (Cal.   Code of   Reg.,     Title 15, Sectio.n     2616(a)(14))   Such
    revocations are automatically for the maximum term              12 months,     ineligible for good-time
    earning     but the parolee may be released before that time if he or she is found to no longer

    meet   the standasd that supported the revocation. Inherent in this regulation is the idea that

    the parolee is being returned to prison for fl•e purposes of treatment.

              Plaintiffs' counsel cites myriad bases for these practices violating constitutional and

    state law. In short, these    regulations as applied do, in fact, raise substantial due process
    concerns.    The   regulations' standard permitting revocation is, itself, troubling. There is
    significant risk that such parolees would not be served their notices of charges and rights, or
   would not understand       them, and could not participate meaningfully in their own defense.
   Plaintiffs' counsel contend that CalPAP attorneys have                 difficulty accessing psychiatric
   evaluations. The purpose of the revocations                   treatment        is undermined by the
   uncertainties of ease provided in county jails; deficiencies in care in CDCR                 Reception
   Centers and other facilities, as documented in Coleman            v.   Schwarzenegger; and difficulty
   accessing Department of Mental Health (DMH) treatment, particularly with question,s
   raised as to the legal bases for either system to retain custody, There has not been a reliable

   mechanism to ensure that these parolees reach treatment expeditiously. These parolees have

   not   been consistently assessed for readiness for release, and the partics disagree about the

   standard     for release and whether Defenda•ats        are    obliged to find eommurtity-based
   placements. Defendants,        with   some   merit maintain      that the local communities         are

   responsible for funding the care and treatment of such parolees released to the co•mntmity



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    not    the CDCR.        Limited   resources    for   mentally     ill in   most   California communities
    frequently result in this being a "catch-22".
             The Special M•ter's team convened "meet aald confer" sessions on these issues in

    August and October 2006. Defendants represented that they plarmed to cease revoking
    parolees under this regulation after a reasonable period to determine alternative measures
    and prepare      guidance for staff. They plam•ed to reconvene their task force to address the
    outstanding issues for extant and future populations.
             In    fairly short order following the initial meet and confer session, De£endants
    identified a set of parolees in custody under these provisions and                expedited their transfer
    into treatment programs at four mainline facilities with complex mental health programs.

    Some    were     placed   in   Department     of Mental Health           (DMH) intemaediate care. The
    exception was a small number who remained in county jails with pending local charges;
   their mental l•ealtl.a treatment is unknown. CDCR elinic',d staff at the four institutions

   reportedly were educated about these patients' unique needs and encouraged to emphasize
   community adjustment during treatment.
            A critical component of according "psych returns" due process is reviewing them to

   determine when their mental illness is stabilized such that the state no longer has a right to

   hold them. The         Special Master relied on the representation that CDCR Interdisciplinary
   Treatment Teams         (IDTT) would be responsible for this review. Tracking sheets initially
   recorded recommendations for the level of care that these parolees would need if released to

   the    community. When          such recommendations        were     no     longer included, the Special
   Master's team inquired about their absence. Staff responsible for overseeing these cases

   responded       that    DAPO       staff   initially sought placements             consistent    with   the



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    recommendations but, •vhen this was dctermhaed to be futile, staff ceased               recording these
    recommendations. On multiple occasions, CDCR staff from different departments asserted

    that their position      was    that "psych returns" would    only be released if they were able to
    maintain fl•emselves in the            eo•mrmnity with outpatient care.      This stalad.ard   was   not

    negotiated and is more stringent than the variety of levers of care originally recorded on
    tracking documents.
              In Defendants'       objections to the Special Master's draft report, Defendants assert that
    IDTT     was never   performing a review ftmetion, This is particularly disturbing as it would
    imply that the Special Master's reliance was misplaced and a critical due process obligation
    was    not carried out    for more than seven months. Defendants          aver   that the level of care

    information was provided to DAPO             informationally arid that DAPO was able to place some
   parolees a• differen! levels of care in the community.
              Centralized staff also began to maintain a list of these parolees that included updates

   on     their clinical conditions and locations,      including whether they had returned to parole.
   Throughout       the last half of      2006, information about the above-described activity was
   difficult to come by. Descriptions •vere provided and questions answered only erratically.

   Tracking information sometimes seemed incomplete or internally inconsistent and, too
   often, updates indicated infomaation had not been provided or baseline and ongoing clinical
   tasks had not been done. The result was that the methods used after the August meet a•d

   confer    to   expedite parolees into transfers and treatment were not sustained colasistently.
   Significant numbers of parolees revoked under the psych return process in the last half of
   2006 did not reach treatment, m•d/or did not appear to be reassessed for                        hearing
   participation, for prolonged periods,


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                 Dispute remains about whether all relevant parolees were identified and tracked
     under this mechanism, whether standards          were   sufficiently defined and disseminated, and
     whether mechanisms functioned to timely identify parolees for whom retention in custody

     was    no     longer appropriate. Without setting up systems in which the Mastership and
    Plaintiffs'     counsel coald have confidence, and without •swering some of the
                                                                                                        core

    qttesdons it was convened to address, Defendants disbanded the task force, without notice,
    reportedly in latc 2006.
                 During this period, BPH did undertake reviews and a significant subset of parolees
    was    returned to parole earlier than the I2-month revocation term, according to the Special

    Master's analysis of tracking materials provided. 1• March 2007, CDCR               leadership directed
    DAPO and BPH staff'to identify community or DMH              placements for all parolees in custody
    under the 2006 psych return procedure. As of this writing, all cases captured in the tracking

   mechanism had been released except four who                 were   certified   as   mentally disordered
   offenders and were awaiting bed availability at DMH. Plaintiffs note, in their objections,

   that the level of care staff identified    as   needed before these parolees' release was        higher
   than lhe level of care to which several were actually released.

             Because of the aforementioned         questions about the completeness of the tracking
   mechmlism, Plaintiffs are concerned that some parolees may currently be held beyond the
   time for which CDCR had legal authority to do so. The Special Master's team will work

   with the       parties to determine an adequate means to d.eanonstrate whether any parolees
   reeendy subject to psych return regatations are in custody and reasonable information
   concerning their revocations and current status.




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             As noted     above, the reason proffered for a delay in ceasing use of this regulation
     was   the need to provide staff with alternatives and        guidance. It is the Special Master's
     impression that no new measures mater[alized in the nearly five months that elapsed. On
    January 12, 2007, CDCR Secretary Tilton issued a memorandum terminating the return of
    ntentally ill parolees to prison "solely for psyehiatrie services." It was accompanied by a
    memorandum      summarizing the existing options for DAPO staff and setting an expectation
    of community        placemeut for much of this populafion• A BPH memorandum added the
    outlines of a new hearing procedure for similarly situated parolees.

            An open     question is fl•e future handling ofparolees whose mental illness appears to
    be the basis of parole violations        charged, or arguably caused the violation behavior. The
    parties disagree as to the likely numbers of such parolees and whether special measures will
    be needed to recognize them, adjust hold and revocation decisions, and facilitate treatnaent

    in the community or in custody.

            While the above-described measures addressed           problems arising from a regulatory
   basis for revoking      some   mentally ill parolees and retaining them in custody, a problem
   remai•ed for mentally ill parolees #acing revocation: some           are   too   ill at the time of their
   parole holds    or    thereafter   to    be able to understand and     meaningfully participate in
   revocation   proeeexlings. The BPH memorandum was a step toward the difficult task o1"
   balancing this population's due process and treatment needs. Plaintiffs' counsel objected to
   the memorandum         procedure    as    insufficiently protecting fair process and unreasonably
   distributing burdens, as well as on other grounds. The procedure devoted insuft'ieient
   attention to placing parolees at a level of care needed to accomplish stabilization until such

   thne as they are capable ofparticipating in revocation proceedings. Neither did it include
                                                                                                         an




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    adequate         mechanism      for   identifying when parolccs    were   well   enough   to   proceed.
    Additionally, it was issued without consultation with Plaintiffs' counsel as required by the
    Pena•anent Injunction.

             Defendants'      plans on-point in 2006 and 2007 involved several partial proposals
    lacking in necessary substance. Some promising approaches did not develop or were
    withdrawn. The         project was fiddled with the issues described elsewhere in this report,
    including poor communication and missed deadlines.
             In response to the           Special Master's request, Plaintiffs'   counsel put forward        a

    thoughtful, comprehensive proposal in March 2007. After the rocky start, Defendants and
    the   Special Master's •emaa convened a multidisciplinary group to more fully develop a
    proposal Defendants produced a well-constructed, thorough proposal on the timcline
    requested.
            As of late April, party negotiations were proceeding well toward a process that will

   incorporate:
                  •     increased staff and CalPAP attorney familiarity with mental illness,
                        consideration of remedial sanctions at each juncture,
                        referrals for emergency trealment at any step,

                       expedited transl•r to CDCR from county jails where legally pemaissib]e,
                       placement into levels ofcare needed for stabilization,
                 •     independent evaluation of ability to mcaningfidly participate and means to
                       challenge that determination,
                       improved inform.ation exchange         among   agency staff and with parolees'
                       attorneys,



                                                                                                        17
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    addressed. The Special Master expects these to be the parties' focus in the nearest practical

    term.

              According to the terms of the Order of Reference, the parties have reviewed a draft
    of this report and submitted objections. Some requests for clarification, factual correction,

    or   addition have been incorporated above. Others, where the Special Master did not have

    sufficient information to assess,      or   did not agree with, the     requested change,   are

    incorporated to in form the Court of the nature of those objections.
              The parties raised some objections based on information newly developed or newly

    provided to the Special Master after the draft report was issued. It is the Special Master's
    practice to reserve such information for the next Round's report ratller than adding
    intbrmation to the instant report that the other party may not have had a chance to consider

    and comment upon. A small set of Plaintiffs' objections fell outside the scope of the Special

   Master's    understanding of his authority. Finally, some objections raise points that deserve
   all   parties' attention and are best handled through negotiation and intemal Defendant
   dccisionmaking at this juncture, rather than through recommendations as requested. The
   latter three categories of objections arc generally not ad4ressed in this report.

            While the   Special Master does not feel that any court orders are necessary or
   warranted at this time, two issues bear comment. Efforts have been directed at due procoss

   aad stabilization for    a   particular subset or the mentally ill, as described above; that
   population is likely to be severely and chronically ill, Among them, there will be parolees
   whose treatment needs exceed CDCR's capacity. As the parties finalize these processes, the

   Special Master will look for interagency coordination and agreement with the Department




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    of Mental Health to ensure that this population has timely access to that agency's aente and

    intermediate care programs.

            As the       Special Master's team returns focus to core due process issues, four
    instialtions   are   of particular interest. The Los   Angeles County Jail, Pitehess Detention
    Center, Califonaia Institution for Men, and California Institution for Women      account tbr a

    large percentage of the total parole holds and hearings in the state. Failure to provide timely
    0aid proper review,     notice, and hearings to even a small percentage there may result in a
    large number of individuals being affected. Due to the large numbers, the amount of hama
   potentially being done is the greatest. The Special Master plans to encourage CDCR to
    appoint a. small team to work with the Special Master team and the Plaintiffs' counsel to
   target these institutions to identify and address the practices that are not in compliance with
   the remedial order.

   Respectfully submitted,



   Chase Riveland
   Special Master                                                          DATED: Jmae 4, 2007




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                        EXHIBIT 4
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  Kate Richardson

  From:          Vickie Whitney[Vickie.Whitney@doj.ca.gov]
  Sent:        Wednesday, September 26, 2007 2:18 PM
  To:          Ginny Morrison; 'Nancy M Campbell'; Ernest Galvan; Michael W. Bien;
               riveland@rockisland.com
  Cc:          Dylan Sullivan; Katherine Nelson; Russa Boyd; Jessica Devencenzi
  Subject:     Valdivia Compliance Report
  Importance: High
  Attachments: Valdivia Compliance Report _09-26-07_.pdf

All Pursuant to The Stipulation and Order Re Special Master Order of Reference, paragraph II. A.,
attached please find the Defendants' Valdivia Compliance Report, for the period fo June 1, 2006,
through September 26, 2007.
Please be advised that the exhibits to the report are voluminous. Accordingly, those have been sent to
you by overnight mail service. You should receive them tomorrow. CDCR will also burn the exhibits
onto a disk and include those in the mailing for your convenience. Any questions should be directed to
Russa    Boyd.
Regards,
Vickie

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    CDCR ValdJvia Compliance R ort
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             June t, 2006 to Sept•e•• 2• •)07
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                CDCR has identified several key issues that must be resolved before a meaningful

     process for the mentally ill parolee population         can   be developed and implemented.          The

     two most     significant issues remaining are as follows:
     1)         Access to the Department of Mental Health (DMH) for parolees who may be or
                are found unable to meaningfully participate in the parole revocation process:


     Issue: Whether         a   parolee must be in revoked status in order to be accepted at a DMH
    facility?
                Plaintiffs have asked whether DMH has agreed to accept parolees who              are    not in

     revoked status. Plaintiffs have further requested that CDCR report on any legal barriers

    to access to DMH            beds for parolees going through the revocation process or in revoked

    status.

              Penal Code Section 2684 is on point,           dealing with transfer of inmates to state
    hospitals.      That section provides,      "If, in the opinion of the Director of Corrections, the
    rehabilitation on any mentally ill, mentally deficient, or insane person confined in a state

    prison may       be     expedited by treatment at any one of the state hospitals under the
    jurisdiction of the State Department             of Mental Health     or   the State    Department     of
    Developmental Services, the Director of Corrections, with the approval of the Board of
    Prison Terms, shall certify that fact to the director of the appropriate               department who
    shall evaluate the           prisoner to determine if he or she would        benefit from    care    and

    treatment in a state hospital..."

              DMH     has       historically interpreted this section to require that a parolee be in
    revoked status in order for transfer pursuant to the above section.                However, CDCR
    interprets the section to cover all persons confined to the custody of CDCR,                       which
    includes parolees pending revocation.




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               At the time the parties began meeting in early 2007 to negotiate a process for the

    mentally ill parolee population unable to meaningfully participate in the revocation
    process, DMH refused to accept parolees unless they are in revoked status.       However, the
    BPH cannot revoke         a   parolee who is too mentally ill to participate in the revocation
    process.      Many parolees in need of acute mental health care to restore the ability to
    participate in the revocation process require DMH placement, but are not accepted
    because they have not completed the revocation process. This is a cycle which results in

    suspension of the revocation process but the parolee is unable to receive the treatment
    necessary to enable him/her to complete the process.

               DMH has been directed to accept parolees in need of psychiatric treatment from

    CDCR       regardless of their revocation status.   A Memorandum of Understanding between

    CDCR and DMH has beeo updated to reflect the direction that parolees who           are   deemed
    unable to     meaningfully participate in the revocation process are in within the legal
    custody of CDCR and that DMH will accept such parolees for treatment, where possible,
    giving them the same priority/status as other CDCR inmates are given.            The     updated
    Memorandum of Understanding is currently being approved by all necessary parties.



    2) Mental Health care in county jails and reception centers:
   Issue: Whether defendants are obligated to expedite transfer of parolees who with
   mental illness from county jails to appropriate CDCR facilities in order to secure mental
   health treatment.


           Plaintiffs have objected to defendants' failure to commit to expedited transfers of

   parolees who may be incompetent from county jails to appropriate CDCR facilities.




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                              IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF CALIFORNIA


    JERRY    VALDIVIA, et al.,
           Plaintiffs,
                 VS.                                          No. CIV S-94-671 LKK/GGH
    ARNOLD         SCHWARZENEGGER, et al.,
           Defendants.

                                                /



                         THIRD REPORT OF THE SPECIAL MASTER
                                 ON THE STATUS OF
                         CONDITIONS OF THE REMEDIAL ORDER

                                          Background
           On May 2, 1994, the lawsuit now known as Yaldivia vs. Schwarzenegger
                                                                                was filed.

   The Courtcertified the case as a class action by order dated December 1, 1994. On June 13,

   2002, the Court granted partial summary judgment in favor of the Plaintiffs. On July 23,
   2003, the Court ordered the Defendants to submit a remedial plan, with specific guidance
   regarding a prompt preliminary probable cause hearing that affords the parolee rights
   provided by Morrissey, including notice of the alleged violations, the opportunity to appear
   and present     evidence, a conditional right to confront adverse witnesses, an independent
   decision-maker, and a written report of the hearing.
          On March       8, 2004, the Court entered the Stipulated Order for Permanent Injunctive
   Relief ("Permanent      Injunction") containing the agreed-upon elements of the settlement
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    months. The teams have continued                  meeting and working on the tool development. It is
    anticipated that by December 2007, the regions will begin pilot projects of the decision-
    making matrix.


    Community Resources
              One of the small but significant accomplishments           completed this term was creating
    greater    access   to   existing community resources for decision-makers in the revocation
    process. This initiative is not part of the Remedial Sanctions Order.

              Historically, some Deputy Commissioners and Parole Administrators have been
    handicapped in suggesting remedial sanctions because of their lack of knowledge about
    what services       might exist in any particular community. It is always difficult in parole
    operations to create and maintain a current list of community-based resources. The rapidly
    changing nature of community programs and funding results in almost constant movement
    in what services exist. It is difficult for parole agents and unit supervisors who are located

    in communities to stay current regarding local resources and the challenge increases for

    decision-makers who         are   not    in the   community. Defendants have created    an   electronic

    database for resources in each region. The database is updated as often as possible. Access

    to this   database was provided to Paroles Division, the Board and CalPAP to facilitate the

    use   of community-based resources.



                                            Mentally I11 Parolees
              In 2007, the parties' efforts concerning mentally ill parolees have largely focused on

     those who are too ill at the time of revocation proceedings to participate meaningfully. At



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      the time of the Special Master's Second Report, negotiations were proceeding well toward

      a process    whose necessary components are:

                   •     increased Board and Paroles Division staff and CalPAP attorney familiarity
                         with mental illness,
                   •     consideration of remedial sanctions at each juncture,
                         referrats for emergency treatment at any step,
                         expedited transfer to CDCR from county jails where legally permissible,
                   •     placement into levels of care needed for stabilization,
                   •     independent evaluation of ability to meaningfully participate and means to
                         challenge that determination,
                         improved information exchange among agency staff and with parolees'
                         attorneys,
                   •     dose monitoring for change in ability to participate and reliable assessment
                         of same,
                         fair interim probable cause determinations, and
                   •     timely resumption of hearings when ability is restored.

        As the parties neared agreement, each noted substantial components of the plan that

    should be reconsidered because they were not sufficiently flexible or would be difficult to

    sustain. In        particular, Plaintiffs emphasized the standards        for   determining ability to
    participate, and the requirements and process surrounding clinicians who were to conduct
    assessments; each of these features carried the risk of unnecessarily delaying resumption of
    hearings. Defendants         were     concerned about reliable     standards,   a    feasible system of
    monitoring parolees' conditions, and mitigating some of the impacts on the operations of
    several related departments. Defendants reportedly discussed these issues internally, but the

   parties have         not   exchanged    any   further information    or   proposals    nor   held further
   negotiations.        The Special Master has not been made aware of any progress or substantial
   work on this topic since May 2007.

       In the     meantime, Defendants have been using interim                measures     to   manage this
   population and to reduce some of the problems previously observed. Greater awareness in



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     the field is evident; Board and Paroles Division staff and CalPAP attorneys interviewed at

     several locations were aware of the mechanism to suspend hearings and the means to refer

     parolees for treatment. Most said they had experience with parolees in this condition.
     Regional administrators tracked proceedings suspensions for mental health reasons, with
     periodic headquarters oversight. A total of 80 parolees have been identified to date in
     2007. xv Some factors suggest the possibility of under-recognition x• and oversight appeared
     limited. Documents indicated that there were often long intervals between Board staff's
    cheeks of whether      parolees' conditions had improved sufficient to return to hearing.
    Although this was recorded on the logs, there was no apparent follow-up by those
    reviewing it. Tracking information was provided to Plaintiffs' counsel and the Special
    Master, but it was generally untimely.
           The system worked   sporadically in getting these parolees into treatment. More than
    one-third (29 parolees) were housed at county jails where their treatment is unknown. Some

    were    determined to be capable of participating in hearings within a few weeks but others
    remained in jails longer term. Only two apparently were transferred to CDCR         facilities;
    there is not information to determine    whether, for another 14, there were local charges
    pending or the transfer system did not operate as intended. At Reception Centers,
    Defendants kept a commitment, with rare exception, xvii to treat this population in the
   Enhanced Outpatient Program and, while those programs provide limited treatment at this
    time, it is significantly more than was provided      to many   such   parolees in the past.
    Defendants report that they have removed some obstacles to placing these parolees in the
    Department of Mental Health when needed and negotiations concerning those transfers are
   underway.


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           In the absence of       guidance, staff made local decisions related to the revocation
     proceedings. The basis for decisions about the parolees' capabilities were unclear; some
     employed clinical input while others did not appear to, and the standards applied were
     unknown in any event. Some clinical staff chafed at the expectation that they would provide
     opinions under these conditions, raising clinical and ethical concerns. Occasionally, Deputy
    Commissioner decision-making seemed contrary to the clinical information sought
                                                                                          or in the

    hearing record. Some regions appeared to adopt too-lengthy timelines for revisiting the
    suspension. All, however, appeared to follow department policy for assigning a revocation
    term and       noting the need for a rescheduled hearing or release of the parolee as of that
    date.XViii
           Two related issues remained from prior Rounds. Defendants      chose, in early 2007, to
    release the parolees held after revocation for purposes of treatment.     They sought CDCR
    clinical input concerning appropriate placements, placed the parolees in the community
                                                                                                   or

    the    Department of Mental Health, and provided information about these efforts to the
    parties. Plaintiffs and the Special Master raised concerns about the completeness and clarity
    of the information provided, and the indication that the level of
                                                                      care staff identified     as

    needed       was   higher than the level of care to which several were actually released. The
   parties negotiated a series of agreements for enhanced information, which ultimately were
   never     satisfied. • While Defendants were under no established obligation to release these
   parolees nor to provide placement information, once they undertook these agreements, the
   work product fell short of the commitments.
          Additionally, Plaintiffs were concerned that some parolees previously incarcerated
   under these regulations might remain in custody and be illegally held. The Special Master



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    and     Plaintiffs   undertook     an    investigation   of that    question.   Defendants      provided
    documentation for each parolee potentially raising this concern from                  an   extensive list
    compiled by Plaintiffs.    xx   The review determined that approximately half were in custody;

    none    had been detained beyond their revocation terms, except two men serving additional

    revocation terms for disciplinary infractions while in custody. Each listed parolee                  was

    revoked for violations different from the "psych return" regulations. Further examination of

    the violations may raise mental health            concerns    in some cases, but Defendants have

    demonstrated that they are not illegally detaining parolees returned to custody as "psych

    returns," or whose revocations held that potential, prior to the change in policy in January
    2007.

                                            Information Systems

              This Court ordered in November 2006 that Defendants initiate information system

    changes aimed at accurately demonstrating compliance, and periodically report on their
    efforts. The relevant portion read:


             Because     of the critical need to structure compliance activities, demonstrate
             compliance, and exercise effective internal oversight, Defendants must provide
             additional resources to make information system application changes for the
             purposes of data collection, analysis, aggregation, and management reports, and
             other modifications as needed by the Special Master and the Court, with input from
             Plaintiffs. The effort should be coordinated with the information system changes
             underway pursuant to the Armstrong court's order, to avoid unnecessarily
             duplicative or contradictory effort, and so that the changes serve the purposes of
             both remedial plans on the issues they have in common. To the extent that DAPO
             and BPH determine that certain of these functions can best be accomplished by
             modifying DAPO's information system, sufficient resources must also be available
             for that purpose. Major modifications will be needed in RSTS and likely in other
             databases.

             Planning   for these changes must be initiated within 60 days of this order.
             Defendants must provide to the Special Master and Plaintiffs periodic reports on the
             progress of these changes; the first of these should be due six months after the date


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     delineate which programs satisfy this Court's requirements for self-help outpatient/aftercare

    programs, and those providing a structured and supervised environment, and demonstrate
    their use. To do this requires the hard work of changing the behavior of parole agents, unit

    supervisors,    Parole Administrators and    Deputy Commissioners.      In   short,     it   requires
    developing not just the programs but the systems that will encourage and support ongoing
    usage of such programs. This requires building the systems needed to support the policy
    direction and changing the values and beliefs of the system actors.

             The Paroles Division and the Board have      begun this work by collaborating to
    change policies and procedures to support the required direction. There is work to be done
    to create a true,   ongoing collaboration between these two divisions. The history of not
    working well together still plagues the divisions and impedes the effective implementation
    of remedial sanctions. The work of        changing the bureaucratic systems can not be
    accomplished unless these divisions partner well. The training in both divisions on the
   revocation process and remedial sanctions is a good step in supporting the field to
   urtderstand both the process and the rationale for using remedial sanctions. Them remains
                                                                                                          a

   significant amount of work to ensure that parole agents through Deputy Commissioners
   fully understand the nature and type of remedial sanctions available and to ensure that the
   agency policy encourages their use. The Paroles Division and the Board, with support •om
   CDCR      legal counsel, the Attorney General's office, and the Office of Court Compliance,
   can  accomplish this task if they continue the forward movement gained during this
   reporting period.
         Other areas of previous focus did not fare as well. Efforts to provide treatment and

   protect due process for severely mentally ill parolees stalled while substantial reworking is



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    necessary for viable practices. Access to early referrals and treatment has            improved and
    there is progress on the longstanding difficulty of transfers to the Department of Mental

    Health. But local decision-making has begun to veer back in the direction that initiated

    these discussions        clinicians face ethical and clinical issues in         providing patient
    assessments    without   training and standards, and administrative heating staff are in a
    difficult   position without that input and sometimes         are   making ill-advised decisions.
    Monitoring of readiness to return to hearing and other oversight is erratic and ban'iers to
    obtaining information from jail staff have not been overcome. Temporarily assigning
    revocation terms    seems   more   established; the parties should return their attention to the
    other, deteriorating aspects of this vexing problem.
        The information system implementation is adequate, though the extended time delays to

    initiation are of significant eoneem to the Special Master. Additionally, Defendants cannot
    continue to provide what are known       as   Valdivia Timeliness Reports with the expectation
    that they will be accepted as a complete representation of compliance.



            Numerical recap: For those requirements where               quantification is part of the
    compliance picture, the following are the likely compliance-related percentages, subject to
    the caveats given above:

                                                     Compliance in
                                                    known eases              % unknown

        Probable cause determination                        98%                      12%

       Notice to parolee                                    90%                      7%
           cfnumber of missed services
       Parole Administrator review                          98%
          cf possibly missed reviews

                                                                                                    75
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                   Moderate compliance:

                          Self-monitoring
                          Potiey and procedure negotiations
                          Timely attorney appointment
                          Access to non-confidential documents
                          Revocation hearings
                          Probable cause hearings
                          Designation of confidential information
                          Effective communication
                          Forms simplification and translation
                          Presenting evidence at probable cause hearings
                          Parole Administrator review
                          Individual concerns and emergencies
                          Hearing within 50 miles

                  Fair, poor or unknown practices:
                         Mentally ill parolees unable to participate in revocation proceedings
                         Attorney panel standards and guidelines
                         Notice to parolees
                          Evidence on the same terms as the state
                          Confrontation rights and hearsay
                         Expedited probable cause hearings
                         Appeals
                         Revocation extension


                                       Recommendations
   The Special Master recommends that the Court order the following:

          Defendants must undertake and sustain work toward the earliest practical
      providing due process for parolees who appear, either in the judgment of theirsolution  to
                                                                                      attorneys
      or Defendants' staff, too mentally ill to participate in revocation proceedings. These
      efforts must be undertaken in consultation with Plaintiffs' counsel and the Special
      Master. Defendants should be ordered to comply with the following requirements:

                         Defendants must provide progress updates to the Special Master and
                         Plaintiffs' counsel every three weeks, beginning three weeks after the
                         signing of this order, until the Special Master determines they are no
                         longer necessary.
                        By March 1, 2008, Defendants must provide to the Special Master
                        and Plaintiffs' counsel a status report on the development of policies


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                                 and procedures concerning this population. The policies and
                                 procedures must include methods to expedite treatment and to
                                 provide due process and full fights under the Permanent Injunction.
                                  By March 15, 2008, Defendants must provide to the Special Master
                                 and Plaintiffs' counsel the standards Defendants intend to use to
                                 determine whether a parolee is unable to participate meaningfully in
                                 revocation proceedings, by virtue of mental illness, and whether that
                                 ability has been regained. The standards should identify the types of
                                 staff or other service providers responsible for applying the
                                 standards.

                                 By April 3, 2008, Defendants must provide to the Special Master
                                and Plaintiffs' counsel a detailed plan for implementing these policies
                                arid procedures and for training all affected CDCR staff and CalPAP
                                attorneys. The plan must specify associated funding and timelines
                                regarding the implementation process, any new resources required.
                                By June 15, 2008, these policies and procedures must be
                                implemented.
            The Spedal Master may, in his discretion, grant an extension of time on any of
        these deadlines upon either party's request and a showing of good cause.



        Respectfully submitted,


        •Chase Riveland
        Chase Riveland
        Special Master                                                        DATED: November 13, 2007


    Stipulation and Order Regarding Remedial Sanctions, Apr. 3, 2007
   "Interim Policy Memorandum Pertaining to the Use of Remedial Sanctions in the Parole Revocation Process,
   Policy 07-26
   •i Examples of" PSC
                        and RMSC referrals and placements, as well as the aggregate placement data,     be
   found in serial email communication captured in a document titled RMSC-PSC referral info 10-12 can
                                                                                                    email
   communication

      It is not clear whether this overlaps with the aggregate data that follows in the next paragraph. Source:
   P.arole Administrator Statistics May 2007-Sept. 2007, one run for each DRU
       Source material appears to contain a typographical error when referring to 2006


                                                                                                                  78
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  Case 2:94-cv-00671-LKK-GGH                   Document 1388  Filed 11/28/2007                           Page 79 of 81

       •i See Implementation
                                 Memo of Region III Director, Alfred Martinez, Sept, 4, 2007, and Region Ill ICDTP
      Provider List
      •ii •
      ix
          ICDTPjail-based projections can be found in Jail-Based In-Custody Drug Treatment Program Matrix
         Data is taken from EID monthly regional reports
      •i Provided for
                         context
     *!!.CDCR      Policy 07-40
          CDCR Policies, 07-39, 07-41, and 07-42
      ,dr See Valdivia Refresher
                                    Power Point
          Psych Suspension Log Aug. 30, 2007
      '• Region [II reported for
                                    only one month in 2007. Region South reported only four cases, far fewer than
      •.e other regions. Region II showed     many cases at San Quentin but no other facilities.
            Two parolees were recorded as being at the CCCMS level of care but not to have had hearing. The
                                                                                                       a
      Special Master called these cases to the attention of CDCR.
            This paragraph is based on an analysis of Psych Suspension Log Aug. 30, 2007, related RSTS records,
     and Defendant interviews
     '•' Update
                    on Released Psych Return Parolees; Summary Finalizing Psych-Return sent 9-24-07, with its
     Attachment B
          Plaintiffs' List of Poss•le Psychiatric Returns 6122/07; RSTS and OBIS records
                                                                                              were provided in hard
     co.py and many of the RSTS records were reviewed online
          This analysis examined totals of open and closed eases and made various comparisons between reports
     with and without "timeliness rules." As this is a snapshot, is
                                                                     serves as a baseline understanding. This study
     will need to be repeated and monitored to determine whether it is representative of practice
                                                                                                         over time. As to
     the '•clnsed c•se" portions, numbers do hold true to those of reports for the preceding
                                                                                                 year.
          Source: Open Case Summary and Open Case Summary per Valdivia Rules for each of these dates: Sept. 17
     and 24, Oct. and 8. Closed Case Summary and Closed Case Summary Timeliness for each of these dates:
    A..ug. 18-Sept. 17, Aug. 25-Sept. 24, Sept. i-30, and Sept. 9-O¢t. 8.
           Each of the preceding three averages are based on an analysis of Closed Case Summary each month from
    M..ay 2007 through Sept. 2007
            Source: Closed Case Summary each month from Aug. 2006 through Sept. 2007. Some experienced staff
    describe this as a routine seasonal pattern. A Paroles Division data source lists
                                                                                        many fewer cases overall and
    indicates there has been a decline in actions.
    ,•iv Defendants'
                          Second Compliance Report
          California Parole Advocacy Program, "Add on Cases Summary" covering May through July 2007;
   California Parole Advocacy Program Add (ha Cases definition document; CalPAP interviews. CalPAP staff
   responsible for scheduling reportedly routinely record this data point on receipt of cases within this timeframe.
   The cases can be captured by a routine, automated report.
   ,,•i Defendants' Second
                                 Compliance Report
   ,•i . .  Defendants' Second Compliance Report; CalPAP interviews
   "•" Defendants' Second Compliance
                                              Report; RSTS Revocation Packet Scanning power point presentation
   •       Defendant interviews and email communication
          California Parole Advocacy Program, Date Case Assigned Compliance Report for each of May 2007
   through Aug. 2007; Closed Case Summary by DRU for each of May 2007 through               Aug. 2007
           California Parole Advocacy Program, Notice of Rights Compliance Report for each of Feb. 2007 through
   Au..g. 2007
         2007 data fi'om California Parole Advocacy Program Statistics, Missing 1073 & Source Documents-
   M.o..nthly Summary, provided as Exhibit 12 to Defendants' Compliance Report
          Defendants' Second Compliance Report and Plaintiffs' response letter
     xiv CalPAP iuterviews
         Defendants' data system records attempted service as equivalent to completed service. Its reports compile
   total actions taken (service or attempted seawice); all other data points in the system
                                                                                            are compiled as total
   individuals, so no comparisons can be made.
   x•-• The CalPAP data
                            also is not definitive for several         Its total number of cases assigned is
   substantially fewer than the total cases in CDCR's data reasons.
                                                               system for any given month. The data does not include


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                        EXHIBIT 6
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                            IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF CALIFORNIA



   JERRY        VALDIVIA, et al.,
           Plaintiffs,
                VS.                                       No. CIV S-94-671 LKK/GGH

  ARNOLD          SCHWARZENEGGER, et al.,
          Defendants.

                                             /



                         FOURTH REPORT OF THE SPECIAL MASTER
                                 ON THE STATUS OF
                         CONDITIONS OF THE REMEDIAL ORDER


                                       Background
           On    May 2, 1994, the lawsuit now known as Valdivia vs. Schwarzenegger was
  filed. The Court certified the case as a class action by order dated December 1, 1994. On

  June   13, 2002, the Court granted partial summary judgment in favor of the Plaintiffs. On
  July 23, 2003, the Court ordered the Defendants to submit a remedial plan, with specific
  guidance regarding "...a prompt preliminary probable cause hearing that affords the
  parolee rights provided by Morrissey, including notice of the alleged violations, the
  opportunity to appear and present evidence, a conditional right to confront adverse
 witnesses, an independent decision-maker, and a written report of the hearing.
          On March       8, 2004, the Court entered the Stipulated Order for Permanent
 Injunctive Relief ("Permanent Injunction") containing the agreed-upon elements of the
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        A final    area   that is   worthy of note is improvement             in the    working relationship
  between the Board and the Paroles Division. The two divisions                           are    collaboratively
  leading efforts such as the decision matrix. There has been a recent change in leadership
  with a new Executive Director of the Board.

                                       Mentally Ill Parolees
           In January 2008, this Court ordered Defendants to prepare plans for providing due

  process to parolees unable to participate in revocation                  proceedings by virtue of their
  mental illness. The orders, detailed above, encompass               a   schedule for developing policies

  and procedures, reporting on progress, and implementing the plan.

           While     the overall issue of      managing        this   population       remains     problematic,
  Defendants have         complied     with this Order to         date, providing timely information
  according to the Court-ordered schedule. Staff have taken at least five very different
  approaches to this issue in 2007 and 2008; several were described as near completion
  when Defendants chose to reformulate           major components. While plan components are
  certainly within Defendants' discretion, such changes carry the risk of necessary features
  not   being carried forward, ramifications of new components on other components not
  being anticipated, and delays attendant to working this through. The most recent of these
  changes occurred two weeks before the Court-ordered deadline for a full implementation
 plan and is largely unformed as of this writing. 38 Plaintiffs have expressed particular
 concern       about the absence       of treatment        focus in the progress         updates     and   plan
 descriptions during the Round.
           A   developed plan was first provided to Plaintiffs on April 3, the date the Court
 ordered for providing a full implementation plan. Plaintiffs object in that they expected to




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  help shape the plan as it developed. This is based in an ongoing disagreement concerning
  the     language and intent of the Permanent Injunction's requirement that "all policies,
  procedures, forms and plans developed under this Order" be shared in draft form. This
  disagreement merits attention by the Special Master and the parties.
               Ensuring that class members have access to Department of Mental Health care
  will be       a   critical component of the   plan. The Special Master has been clear in his
  expectations, at least since his Second Report, that all involved agencies must address
  this issue. Defendants have represented, since August 2007, that an agreement                 on-point
  was     imminent. Recent        developments indicate much more work remains. 39 The Special
  Master expects to see Defendants' commitment fulfilled in the very near future.

               In the meantime, Defendants have been          responsible for suspending proceedings
  and referring this population to treatment, monitoring            ability to meaningfully participate,
  and returning parolees to hearings         as soon   as   their conditions allow. Defendants tracked

  these efforts and improved the timeliness of providing this information. Proceedings have

  been suspended         on   just over 180 occasions in the 13 months this interim procedure has
  been in place. 4° Tracking suggests Defendants' staff and jails are becoming more familiar

  with referrals to treatment and exchanging information about parolees.               During tours, all
  parties assessed staffs awareness of these procedures with favorable results. 41
               Monitoring parolees' condition and returning them to hearings has not fared as
  well. A small number of cases were not tracked, were included in tracking only months

  after   an    initiating event, or were dropped. Some           cases    do not document   monitoring
  checks for intervals         ranging from three weeks to three months, unacceptable periods
  when parolees are being held without a heating.




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              Reportedly, it became increasingly difficult for the Board's staff to obtain clinical
  information      or   review of these parolees' conditions. It is problematic that this situation

  was    known but not reported to the Special Master for months. Defendants believe they

  did provide this information in early         February, but Plaintiffs counsel and the Special
  Master do not recall this.

              Under these     circumstances, many parolees were returned to heating with no
  clinical assessment,       though attorneys and Deputy Commissioners jointly applied their
  judgment as to whether the parolees were capable of participating. In a smaller set,
  however, the heating record did not document any such discussion, which raises concerns
  about the judgment to go forward. Once          a    decision was made,      some   cases   took three to

  four weeks to be placed on calendar. These               cases   may have been partially explained by
  the length of time needed to subpoena witnesses for revocation                 heating, but the times_
  appear unnecessarily extended        despite that. Although the problems associated with these
  parolees were recorded, there was no apparent follow-up by those tracking or reviewing
  the   logs. Each of these deficiencies impacts due process, and Defendants must take
  immediate steps to address them; this           can       no     longer be held in abeyance      for the
  anticipated policy changes. Defendants agreed, on March 12, 2008, to adopt an interim
 policy addressing several of these issues.
          Tracking and the parties' monitoring reports also revealed rare occurrences of
 lengthy rescheduling times for postponed hearings and giving credit for time served                    an

 action that assumes there has been a parole violation                 when there has been no hearing.

 These issues merit attention as well.

          •     Although the issues in handling this population are complex and extremely
                difficult, and there have been well-intentioned efforts to develop and carry out


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              viable protections, failures of coordination and sustained effort have
              undermined both planning and necessary assurances of due process in the
              meantime.' Progress has been limited and compliance is poor.

                                  Information   Systems
          This Court ordered in November 2006 that Defendants initiate information system

  changes aimed at accurately demonstrating compliance, and periodically report on their
  efforts. The relevant portion read:


         Because    of the critical need to structure compliance activities, demonstrate
         compliance, and exercise effective internal oversight, Defendants must provide
         additional resources to make information system application changes for the
         purposes of data collection, analysis, aggregation, and management reports, and
         other modifications as needed by the Special Master and the Court, with input
         from Plaintiffs. The effort should be coordinated with the information system
         changes underway pursuant to the Armstrong court's order, to avoid unnecessarily
         duplicative or contradictory effort, and so that the changes serve the purposes of
         both remedial plans on the issues they have in common. To the extent that DAPO
         and BPH determine that certain of these functions can best be accomplished by
         modifying DAPO's information system, sufficient resources must also be
         available for that purpose. Major modifications will be needed in RSTS and likely
         in other databases.

         Planning for these changes must be initiated within 60 days of this order.
         Defendants must provide to the Special Master and Plaintiffs periodic reports on
         the progress of these changes; the first of these should be due six months after the
         date of this order, and every six months thereafter until the Special Master
         determines the improvements are complete The system changes must be
         completed within two years of this order.

         In   prior Rounds, Defendants acquired funding and contracted for services to
  accomplish this project, as well as gathering input as to necessary components from
  computer system users in different divisions, Plaintiffs, and the Special Master.
         Defendants' documents indicate that the          project has taken substantial steps.
  During the Round, Defendants and their contractors reportedly completed the project


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             •        Whether there are sufficient provisions for attomey-client communications to
                      be confidential in some locations

                      Whether    state employees and witnesses                will be      provided   with attorney
                      representation during hearings

             3.       Evidentiary questions
                      Timely provision of all appropriate evidence to parolees' attorney


            4. Other

                      Delayed release times engendered by extended holds placed once the parolee
                      is nearing release in order to complete a sexually violent predator screening

                      Notice of the possibility of re-incarceration for life for life-term parolees who
                      have been paroled and are facing parole revocation

                      Notice conceming credit-earning for parolees housed at county jails


                                              Relationship to Other Cases
            Valdivia intersects with the Coleman                case   primarily i n three instances. First, there
  is a need to house and treat parolees too mentally ill to participate in their hearings and to

  monitor their conditions               so   that hearings may be held consistent with due process.

  Second,         a   subset of those         people   may be     diagnosed      as   needing    treatment   at the

  Department of Mental Health, and there have been historical barriers to their being placed
 there.     Defendants          have     been    negotiating     an    addendum       to   the Memorandum        of
 Understanding between the two Departments, which would allow such placements, for at
 least nine months.

            The timeliness and quality of care for the mentally ill parolees in reception centers

 also intersects with Coleman to the extent that if the level of care available to any




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   mentally ill parolee in those facilities is enhanced through Coleman activities it may
   correspondingly improve the care for parolees.
              Valdivia also intersects with the          Armstrong    case   by ensuring that effective
   communication assistance         or    other reasonable accommodation           during the revocation
   process is provided to disabled class members. In addition, the jail and community-based

   ICDTP programs are monitored to ensure equal access for disabled class members.

            At the request of the Special Master, Plaintiffs drafted monitoring            guidelines for
  the    community-based      ICDTP programs. These             guidelines   are   under review    by the
  Defendants. The guidelines focus on eight subject areas with a major focus
                                                                             on ensuring

  equal access for disabled class members based on the requirements of the Armstrong case
  and the Americans With Disabilities Act.


                                               Summary
        The importance of skilled and stable leadership was once again made evident during

  this Round. The Round began with good cooperation between the leaders of the Paroles

  Division and the Board. Turnover at the executive level of the Board, combined with

  vacancies in many senior level positions, resulted in multiple challenges. CDCR moved

  quickly to fill the Executive Officer of the Board. The new Executive has demonstrated
 his    understanding and willingness to partner with the Paroles Division, counsel and
 compliance unit staff.
           The decision made to transfer ICDTP from the Paroles Division to the Division

 of Addiction and      Recovery Services has also resulted in transition challenges. Duties
 were    transferred without the         requisite staffing and despite the best efforts of both
 Divisions,     role   and   task   confusion     has     resulted.   This   has    impacted     program


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                       EXHIBIT 7
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  Kate Richardson

   From:         Ernest Galvan   [egalvan@RBG-Law.com]
   Sent:         Thursday, March 20, 2008 5:32 PM
  To:            Valdivia Team
  Subject:       FW: Valdivia:Mentally III Update
  Attachments: Chart.pdf; Ma. rch 20 Mentally III Update.wpd.pdf



From: Jessica Devencenzi[SMTP:JESSICA.DEVENCENZI@DOJ.CA.GOV]
Sent: Thursday, March 20, 2008 5:31:29 PM
To: Ginny Morrison; nancy@nmcampbell.com; Ernest Galvan; Chase Riveland
Cc: Alberto.Roldan@cdcr.ca.gov; Don Currier; Katherine Nelson;
Debbie Vorous; Vickie Whitney
Subject: Valdivia: Mentally III Update
Auto forwarded by a Rule


All:

Please see Defendants'   update attached.
Thank you,



Jessica R. Devencenzi
Deputy Attorney General
Correctional Law Section
Office of the Attorney General
(916)322-6104
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legally privileged information. It is solely for the use of the intended recipient(s). Unauthorized
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6/25/2008
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EDMUND     G. BR 0 WN JR.                                                State of California
Attorney General                                                 DEPARTMENT OF JUSTICE

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                                                                                                Public: (916) 445-9555
                                                                                           Telephone: (916) 322-6104
                                                                                            Facsimile: (916) 324-5205
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                                                March 20, 2008


      Chase Riveland                                        Nancy M. Campbell
      Riveland Associates                                   Deputy Special Master
      5714 Deer Harbor Road                                 8232 Hansen Road NE
      Deer Harbor, WA 98243                                 Bainbridge Island, WA     98110

      Emest Galvan                                          Virginia L. Morrison
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      315 Montgomery Street, 10 t• Floor                    One Cedar Avenue
      San Francisco, CA 94104                               Kentfield, CA 94904

             Jerry Valdivia, et al. v. Arnold Schwarzenegger, et al.
              USDC-ED    (Sacramento), Case No. 2:94-cv-0671 LKK GGH P
      Dear All:

              Per Chase's email of March 11, 2008, the Defendants are providing their status update on
      the development of the plan, policies, and procedures for those parolees identified as unable to
      understand the charges against them or assist in their defense because of a mental illness.

      Status of Policies and Procedures

               Since the last submitted update, Defendants have continued to work to refine the policies
      proposed in May 2007 and develop an implementation plan to meet the deadlines of recent
      orders. As of March 10, 2008, Health Care Services Division, Division of Adult Parole
      Operations and the Board of Parole Hearings have all revised the May 2007 plan. In addition,
      CalPAP provided CDCR with a copy of their draft procedures on March 14, 2008. As the
      policies were being revised there were concerns raised about the parolee's due process rights and
      the Defendants' ability to hold these individuals without a hearing. This discussion resulted in a
      modification to the approach by Defendants.

             The approach continues to involve a competency evaluation prior to the final revocation
     hearing of any parolee whose competency is called into question, and the Deputy Commissioner
     will ensure that the parolee is provided counsel. As previously proposed, if, at any step in the
     process, the parolee exhibits signs of an inability to understand the charges against him or assist
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 in his defense because of a mental illness, either the Deputy Commissioner, the Parolee's
 attorney or any other personnel may bring this to the attention of the hearing officer. The
 Deputy Commissioner will then order a competency evaluation, and contact the parolee's
 attorney (CalPAP), who will schedule a competency evaluation. Once the evaluation is
 performed and the report is provided to the Board of Parole Hearings, the revocation hearing will
 go forward with the assistance of counsel. At the revocation hearing, counsel for the parolee
 may make arguments directly tied to the mental status of the parolee, including reliance on the
 evaluation obtained. The Deputy Commissioner may take into account all such facts and factors
 associated with the parolee's mental condition in determining an appropriate disposition.

          Defendants appreciate the importance for an accused parole violator to be able to
 participate meaningfully in the revocation process. However, that need must be balanced with
 Defendants' obligation to provide due process in a timely fashion. Any prolonged delay, as a
 result of mental health issues, in holding the revocation hearing may result in the loss of
 witnesses, or the ability of witnesses to recall the events underlying a charged violation, which
 would impede the Commissioner's ability to make an accurate evaluation of the parolee's
 conduct and needs, and make an informed predictive judgment of the parolee's ability to live a
 law-abiding life.
         The Defendants have been placed in a position in which they are forced to chose between
 competing due process interests, the parolee's right to confrontation and a timely hearing versus
 the parolee's ability to meaningfully participate in that hearing. Furthermore, the risks associated
 with the latter will be minimized by the early appointment of an attorney, a competency
 evaluation and the ability of both the parolee's attorney and the Deputy Commissioner to
 consider the parolee's mental condition in the ultimate decision rendered.

 Items Per March 11 Email

         Item #2 in the Special Master's March 11, 2008 email asks that the status update report
 on each  of the first 13 items listed in the correspondence of March 7, 2008, from Lori Rifkin.
 Ms. Rifkin's letter asks that Defendants confirm that the Defendants' final plan will, in fact,
 include the following elements to which the Defendants' response is set forth below:

 (1) Expedited transfer from county jail when parolee is identified as having possible mental
 health concerns (5/2007 plan, 2/5/08 progress update)?

 If the parolee is an OHO (our hold only) and there are mental health concerns, the parolee
 will be transferred to a prison. If not OHO, CDCR cannot move them since they are first
 subject to county custody and it would then be up to the county to provide treatment.
 While the May 2007 plan states that transfers will be expedited when possible, the
 February 5, 2008 update did not describe an expedited process. CDCR will attempt to
 transfer parolees as quickly as possible; however, CDCR does not foresee the necessity for
 a special procedure for what is essentially a vague "expedited transfer."


 (2) Potential to be diverted into mental health revocation process at any point during rev
 procedure, such as NOR, RTCA, Attorney Consultation, PCH, rev hearing, and identified
 process for accomplishing this diversion (5/2007 plan at 1-5);
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 If this question is inquiring about the potential of the parolee to be identified with mental
 health concerns at various points in the process, this is contained in the new procedures.
 At all steps in the revocation process prior to the PCH, the case may be flagged as a
 possible mental health concern case. At the PCH or revocation hearing is where the
 evaluation would be formally requested.

 (3) A preliminary screening by CDCR doctors after a parolee has been identified as unable to
 participate in the revocation process due to mental health concerns to determine whether the
 parolee is in need of short term treatment that will enable the parolee to participate, without
 further evaluation, or whether outside competency evaluation is needed (2/5/08 progress update);

 The present plan is to have the attorney obtain the evaluation upon order of the Deputy
 Commissioner.

 (4) Consideration of remedial sanctions at every step in the revocation process (5/2007 plan at
 12);
 This is contained in the new plan.

 (5) A procedure for providing attomey visits for clients even when in crisis beds (5/2007 plan at
 3);
 This is contained in the new procedures.

 (6) A procedure whereby a parolee may challenge the finding that he/she is not competent to
 participate in the revocation process due to mental health concerns (5/2007 plan at 6-7);
 CalPAP will be selecting the evaluators. There is no plan for the parolee to challenge the
 evaluation in the new procedure.

 (7) An opportunity for defense counsel to argue for dismissal of any charges unsupported by
 evidence on their face (5/2007 plan at 3);

 This is contained in the new plan.

 (8) A provision governing the maximum time that a parolee may be incarcerated without ever
 successfully participating in the revocation process (5/2007 plan at 7);
 As described above, the Defendants will bring the parolee to a revocation hearing, after the
 parolee has been given a competency evaluation and provided with counsel.
 (9) A procedure for returning the parolee to the revocation process if he/she becomes able to
 meaningfully participate (5/2007 plan at 9);
 As described above, the Defendants will bring the parolee to a revocation hearing, after the
 parolee has been given a competency evaluation and provided with counsel.
 (10) Expedited mental health treatment for parolees identified through this process immediately
 upon identification (5/2007 plan at 8);
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   OHOs will be transported to CDCR prisons where they will be provided with Mental
   Health Care within the parameters of Coleman.

  (11) A mechanism for meaningfully tracking a parolee's mental health status while in suspended
  revocation status (5/2007 plan at 9-10) and a mechanism for tracking parolees in this suspended
  status (5/2007 plan at 13, 2/25/08 progress update);

  Tracking will be done by CaiPAP as well as follow-ups with the parolee, per the new plan.
  (12) A process for transitioning mentally ill parolees from in-custody status to parole when in
  need of enhanced community-based services (5/2007 plan at 10-12);

  This is contained in the new plan.

  (13) Training for BPH, DAPO, Case records, clinicians, CalPAP and mental health staff and
  funding for such training (5/2007 plan at 13).
  This is contained in the new plan.

  Additionally, attached please find the chart forwarded by Chase, along with the Defendants'
  information provided therein as well.

  Status of CalPAP Contract Amendment and Fundin•

          On March 17, 2008, the Board of Parole Hearings received confirmation that funding has
 been secured for CalPAP to provide the competency evaluations. It has been determined that
 there is no need for a contract amendment and CalPAP has been given authorization to bill under
 the current contract for these services.




                                               Sincerely,


                                              JESSICA R. DEVENCENZI
                                              Deputy Attorney General
                                       For    EDMUND G. BROWN JR.
                                              Attorney General



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  Kate Richardson

  From:           Ernest Galvan      [egalvan@RBG-Law.com]
  Sent:           Tuesday, March 25, 2008 12:38 PM
  To:             Valdivia Team
  Subject:        FW: Valdivia: Revocation    Proceedings for Parolees with Mental Health Concerns
  Attachments: 28 CFR      2.8.pdf


From: Jessica Devencenzi[SMTP:JESSICA.DEVENCENZI@DOJ.CA.GOV]
Sent: Tuesday, March 25, 2008 12:36:20 PM
To: Ginny Morrison; Ernest Galvan; Chase Riveland
Cc: Katherine Nelson; Debbie Vorous; Vickie Whitney
Subject: Vaidivia: Revocation Proceedings for Parolees with Mental Health Concerns
Auto forwarded by a Rule


All:

Attached please find 28 C.F.R. 2.8 and the corresponding sections of the Federal Register. As indicated in the
Defendants' status report of March 20, 2008, the Defendants are utilizing this section of the Code of Federal
Regulations as the model for designing the system to be utilized in California because of its well-reasoned
balance of the various rights involved for parolees in revocation proceedings and Va/divia. The Defendants'
model will not be identical to that set forth in the Regulation in that the Defendants' model will incorporate the
due process requirements of Va/divia and various other nuances relating the administration of parole in
California. Defendants are providing the Regulation and Federal Register sections so that Plaintiffs may see
the background against which the Defendants are preparing their Policies and Procedures in the development
of this new process.

Defendants are currently working to incorporate the Regulation procedures into the draft of Policies and
Procedures upon which negotiations with Plaintiffs will proceed. As confirmed with the Special Master, the
Defendants will provide those to the Plaintiffs and the Office of the Special Master as soon as possible, but in
no event later than the April 3, 2008 deadline. If you have questions or concerns please let us know.



Thank you,

Jessica


Jessica R. Devencenzi
Deputy Attorney General
Correctional Law Section
Office of the Attorney General
(916)322-6104
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                                                    LEXSTAT 28 CFR 2.8

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                   ***   THIS SECTION IS CURRENT THROUGH THE MARCH 20, 2008 ISSUE OF ***
                                          *** THE FEDERAL REGISTER ***



                                      TITLE 28  JUDICIAL ADMINISTRATION
                                      CHAPTER     DEPARTMENT OF JUSTICE
          PART 2         PAROLE, RELEASE, SUPERVISION AND RECOMMITMENT OF PRISONERS, YOUTH
                                     OFFENDERS, AND JUVENILE DELINQUENTS
                           SUBPART A     UNITED STATES CODE PRISONERS AND PAROLEES


                                              Go to the CFR Archive Directory

                                                          28 CFR 2.8

 § 2.8 Mental competency proceedings.

   (a) Whenever a prisoner (or parolee) is scheduled for a heating in accordance with the provisions of this part and
reasonable doubt exists as to his mental competency, i.e., his ability to understand the nature of and participate in
scheduled proceedings, a preliminary inquiry to determine his mental competency shall be conducted by the heating
panel, hearing examiner or other official (including a U.S. Probation Officer) designated by the Regional
Commissioner.

      (b) The hearing examiner(s) or designated official shall receive oral or written psychiatric or psychological
testimony and other evidence that may be available. A preliminary determination of mental competency shall be made
upon the testimony, evidence, and personal observation of the prisoner (or parolee).
                                                                                        If the examiner(s) or designated
official determines that the prisoner is mentally competent, the previously scheduled hearing shall be held. If they
determine that the prisoner is not mentally competent, the previously scheduled hearing shall be temporarily postponed.

     (c) Whenever the hearing examiner(s) or designated official determine that a prisoner is mentally incompetent and
postpone the previously scheduled hearing, they shall forward the record of the preliminary heating with their findings
to the    Regional Commissioner for review.
         (I) In the case of a prisoner, if the Regional Commissioner concurs with their findings, the Commissioner shall
order the temporarily postponed hearing to be postponed indefinitely until such time as it is determined that the prisoner
has recovered sufficiently to understand the proceedings. The Regional Commissioner shall require a progress report on
the mental health of the prisoner at least every six months. When the Regional Commissioner determines that the
prisoner has recovered sufficiently, the Commissioner shall reschedule the hearing for the earliest feasible date.
      (2) In the case of a parolee in a revocation proceeding, the Regional Commissioner shall postpone the revocation
hearing and order that the parolee be given a mental health examination in a suitable facility of the Bureau of Prisons or
the District of Columbia. The postponed revocation hearing shall be held within 60 days, or as soon as a satisfactory
mental health report is submitted. The Regional Commissioner shall order that appointment of counsel be sought in any
case where the parolee does not
                                  have counsel for the revocation hearing. If the parolee's mental incompetency is raised
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                                                        28 CFR 2.8



at a preliminary interview or probable cause hearing, the Commission (or hearing official) will make a determination of
probable cause and, if probable cause is found, schedule a revocation hearing as provided in this paragraph.
      (d) If the Regional Commissioner disagrees with the findings of the hearing examiner(s) or designated official as to
the mental competency of the prisoner, he shall take such action as he deems appropriate.

      (e) At a postponed revocation hearing under this section, the hearing examiner shall make a preliminary
determination as to the parolee's mental competency, taking into account all available mental health reports, any
evidence submitted on the parolee's behalf, any report from counsel as to counsel's ability to communicate with the
parolee, and the parolee's own responses to the examiner's questioning.
      (1) If the hearing examiner determines the parolee to be mentally competent, the examiner shall conduct the
revocation hearing. If counsel has previously asserted the parolee's incompetence, the examiner shall offer counsel a
brief recess to consult with the parolee before proceeding.

     (2) If the hearing examiner determines the parolee to be mentally incompetent, the examiner shall conduct the
revocation hearing, and shall take into full account the parolee's mental condition in determining the facts and
recommending a decision as to revocation and reparole.
      (3) If the Commission revokes parole, the Commission may grant reparole conditioned on the parolee's acceptance
into a particular type of mental health program prior to release from prison, or may grant reparole with a special
condition of supervision that requires appropriate mental health treatment, including medication. In cases where no
other option appears appropriate, the Commission may grant reparole conditioned upon the parolee's voluntary
self-commitment to a mental health institution until such time as the parolee has sufficiently recovered for the
Commission to permit the parolee's return to supervision.

      (4) If the Commission finds that the parolee did not commit the charged violations of parole, but also finds that the
parolee is unable to fulfill the normal obligations of a parolee by reason of his mental condition, the Commission may
reinstate the parolee to parole with any appropriate special condition, including the special condition, if necessary, that
the parolee voluntarily commit himself to a mental institution until such time as the parolee has sufficiently recovered
tbr the Commission to permit a return to supervision.

HISTORY:     [44FR 3408, Jan. 16, 1979; 68FR 70709, 70711, Dec. 19, 2003]
AUTHORITY: AUTHORITY NOTE APPLICABLE TO ENTIRE PART:
18 U.S.C. 4203(a)(1) and 4204(a)(6).

NOTES: [EFFECTIVE DATE NOTE: 68 FR              70709, 70711, Dec. 19, 2003, revised paragraph (c), and added paragraph
(e), effective Jan. 20, 2004.]


NOTES APPLICABLE TO ENTIRE CHAPTER:
CROSS REFERENCES: Customs Service, Department of the Treasury: See Customs Duties, 19 CFR chapter I.
Internal Revenue Service, Department of the Treasury: See Internal Revenue Service, 26 CFR chapter I.
Employees' Benefits: See title 20.
Federal Trade Commission: See •ommercial Practices, 16 CFR chapter I.
 Other regulations issued by the Department of Justice appear in title 4; title 8; title 21; title 45; title 48.

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                                                  LEXSEE 68 FR 70709

                                                 FEDERAL REGISTER

                                                       Vol. 68, No. 244

                                                  Rules and Regulations

                                          DEPARTMENT OF JUSTICE            (DO J)
                                               United States Parole Commission

                                                      28 CFR Part 2

   Paroling, Reeommitting, and Supervising Federal Prisoners: Prisoners Serving Sentences Under the United
                                         States and District of Columbia Codes

                                                       68 FR 70709

DATE:    Friday, December 19, 2003

    ACTION: Interim rule with request for comments.


     SUMMARY: This interim rule is designed to provide a fair and expeditious means of handling the case of an
accused parole violator who is found to be mentally incompetent to proceed with a scheduled parole revocation hearing.
Under the Commission's present rule, such a parolee is sent to the Bureau of Prisons for a mental health examination,
with a report every six months, until the parolee regains sufficient competence to participate in a revocation hearing.
This rule can result in the indefinite detention of the mentally incompetent parolee, without any provision for bringing
the revocation matter to resolution. The interim rule authorizes the Commission to conduct a revocation hearing
notwithstanding the parolee's lack of mental competency, so long as the Commission obtains a current mental health
report, ensures that the parolee has counsel to present a defense, and takes the parolee's mental condition into account in
its determination.


    DATES:     Effective date: January 20, 2004. Comments must be received by February 17, 2004.

    ADDRESSES: Send comments to Office of General Counsel, U.S. Parole Commission,              5550 Friendship Blvd.,
Chevy Chase, Maryland 20815.

     FOR FURTHER INFORMATION CONTACT: Office of General Counsel, U.S. Parole Commission, 5550
Friendship Blvd., Chevy Chase, Maryland 20815, telephone (301) 492-5959. Questions about this publication are
welcome, but inquiries concerning individual cases cannot be answered over the telephone.

     SUPPLEMENTARY INFORMATION: A recent case in the District of Columbia has illustrated the problems
that can arise when the Commission finds that a parolee who is charged with parole violations is not mentally
competent to participate a revocation hearing, and successive efforts to hold a revocation hearing are frustrated by the
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parolee's inability to regain competency. Other pending revocation cases potentially raise similar difficulties. Under the
Commission's present regulation, 28 CFR 2.8, such a parolee must be kept in prison with a r•eport as to his mental
competency submitted every six months. A revocation hearing is attempted only when the mental health report indicates
that the parolee may be competent to proceed. The regulation can result in indefinite delays in holding the revocation
hearing, because the rule lacks any provision for resolving the parolee's situation.
     The rule at § 2.8 is grounded, in part, on the policy judgrnent that the Commission cannot responsibly return
accused parole violators to parole supervision solely by reason of their mental incompetency. This result would be
incompatible with a primary purpose of parole, i.e., to promote the reintegration of criminal offenders into society as
law-abiding citizens through closely supervising their activities in the community and facilitating their rehabilitation.
Effective supervision can only be carried out when parolees [*70710] maintain sufficient mental capacity to report as
directed to their supervision officers, to follow instructions, to comply with the conditions of parole, and to avoid
committing new crimes. Given the overriding public interest in preventing new crimes by released offenders, the
Commission may justifiably require any parolee who lacks the mental capacity to function successfully on parole to
complete his sentence in prison.
     The mental incompetency of a defendant facing a criminal prosecution has a far different consequence. A defendant
who is found unable to regain competence to stand trial in the foreseeable future cannot be incarcerated indefinitely and
must be released, as mandated by Jackson v. lndiana, 406 U.S. 715 (1972). But this
                                                                                                              requirement does not apply to an
accused parole violator, who    is a  convicted    felon   whose     imprisonment          will  terminate      with the expiration date of his
sentence. Moreover, a   parolee's   mental    condition    is not  a  defense     to  revocation,       though    the parolee's condition is a
factor tbr the decision-maker to     consider   in the  disposition     of the    case.    E.g.,   United     States v. Brown, 899
                                                                                                                                     F.2d 189 (2d
Cir. 1990): Steinberg v. Police Court       of Albany,    New    York,   610   F.    2d   449   (6th   Cir.   I979).  A  parolee cannot,  therefore,
gain immunity from revocation       of  parole,  and   force  the  government          to  resort   to  civil  commitment     procedures,  merely by
reason of mental incompetency.

      On the other hand, maintaining an accused parole violator on a potentially indefinite six-month reporting cycle
without a revocation hearing, as permitted by the present rule, fails to serve the interest of both society and the parolee
in seeing that parole violation charges are resolved in a reasonable time. Conducting a revocation hearing
notwithstanding the parolee's mental incompetency is the appropriate solution because, in the final analysis, revocation
of parole is remedial in nature. E.g., United States v. Pinjuv, 218 F.3d 1125, 1131 (gth Cir. 2000), citing, Standlee v.
Rhay. 557 F.2d 1303, 1306 (9th Cir. 1977). Although it is obviously important for an accused parole violator to be able
to participate meaningfully in the revocation process, the
                                                             overriding consideration is that the Commission should avoid
excessive delay in determining whether revocation is appropriate. A prolonged delay in holding the revocation hearing
                                                                    recall the events underlying a charged violation, which
may result in the loss of witnesses, or the ability of witnesses to
would impede the Commission's ability to make an accurate evaluation of the parolee's conduct and needs, and make an
informed predictive judgment of the parolee's ability to live a law-abiding life. Morrissey v. Brewer, 408 U.S. 471, 480
 (1972). It can also keep the parolee in custody unjustly where the violation charges would otherwise be dismissed.
      If revocation is ordered, depending on the seriousness of the violations committed and the risk of new criminal
 behavior, the Commission can take such measures as are best suited to protect the public, which may include a reparole
 under conditions of supervision adequate to support the parolee's mental health needs. If the charges are dismissed, or
 revocation is otherwise not found appropriate, the Commission can return the parolee to the community with a better
 understanding of the needs that must be addressed to improve the parolee's chances for success.
      Consequently, the Commission's revised regulation requires that, whenever a parolee appears to be incompetent to
 go forward with a revocation hearing, the hearing examiner must
                                                                    temporarily postpone the hearing to obtain a report
 concerning the parolee's competency from mental health    professionals.  If the incompetency appears at the probable
                                                                   finding  as to probable cause and, if probable cause
                          examiner (or Commission)   will make                                                          is
 cause hearing stage, the                                        a
 found, will schedule a revocation hearing to be held with such a report.
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      At the postponed revocation hearing, the hearing examiner will make a preliminary determination
                                                                                                      as to the
 parolee's competency before proceeding with the revocation hearing. But the hearing examiner will proceed with the
 revocation hearing even if the examiner determines that the parolee is mentally incompetent to participate in the
 hearing. Under the interim rule, a finding of incompetency is not a reason for ordering further postponements or for
 canceling the hearing. In such a case, the purpose of the mental competency determination is to inform the examiner of
 the parolee's condition, so that the examiner can ensure that both a fair revocation hearing and a reasonable decision
 results.

      In drafting this revised regulation, the Commission has taken account of the possibility that holding revocation
                                                                                                            a
hearing in the case of an incompetent parolee could result in an increased risk of erroneous fact-finding. This  risk will
be controlled by the provision that any mentally incompetent parolee must be afforded representation by counsel at the
revocation hearing. Counsel will be expected to investigate the charges by speaking to witnesses, family members, and
others with relevant information. Counsel will be permitted to present any substantial defense to the charges which the
circumstances suggest, even-if the parolee is not able to testify or give counsel meaningful assistance. This is not
                                                                                                                     an
unfair expectation because counsel is not tasked with preparing a defense in a criminal trial under the standard of
"beyond a reasonable doubt." Counsel is only tasked with preparing a defense in an informal administrative hearing,
tinder the lesser standard of the "preponderance of the evidence," whereby counsel need only provide the Commission
with the explanation of the facts which "best accords with reason and probability." see 28 CFR 2.19(c). As the Supreme
Court stated in Morrissey v. Brewer, supra, 408 U.S. at 489, a parole revocation hearing is not a criminal trial "in
                                                                                                                      any
sense."

     Therefore, the absence of any readily evident defenses to the alleged parole violations will, in most cases, result in
counsel emphasizing factors in mitigation. Even though a case may occur in which a parolee cannot communicate to
counsel some defense that is known only to the parolee, it is still preferable for the Commission to hold a hearing and
make the best decision it can, as opposed to postponing the hearing until such time as the parolee is able to regain his
competence.
      In sum, the only requirement of due process in such a case is that the Commission must take the parolee's mental
condition fully into account in conducting the revocation hearing and making its decision. Pierce v. State Department of
Social and Health Services, 646 P. 2d 1382 (S. Ct. Wash. 1982) (en banc). Before making a finding as to whether the
parolee violated parole as charged, the Commission will consider the parolee's difficulty in communicating his version
of the facts, and weigh that factor in the balance in assessing the probabilities under 28 CFR 2.19(c). If the Commission
finds that violations have occurred, the Commission will consider the parolee's inability to provide a coherent
explanation of the reasons for his misconduct in determining whether revocation is the appropriate remedy.
     Because this is a rule of procedure only, and implementation of the rule at the earliest opportunity is necessary for
the Commission to be able to resolve any potential delays in its revocation caseload, this rule will
                                                                                                      go into effect as an
interim rule with request for comments, in contrast to proposals for rulemaking on substantive matters such         paroling
                                                                                                                 as
policy, i'70711]
Implementation
     The amended rule will take effect January 20, 2004, and will apply to all cases, federal and District of Columbia,
including District of Columbia offenders on supervised release.
Executive Order 12866

     The U.S. Parole Commission has determined that this interim rule does not constitute a significam rule within the
meaning of Executive Order 12866.
Executive Order 13132
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    This regulation will not have substantial direct effects on the States, on the relationship between the national
government and the States, or on the distribution of power and responsibilities among the various levels of government.
Under Executive Order 13132, this rule does not have sufficient federalism implications requiring a Federalism
Assessment.

Regulatory Flexibility Act
      The interim rule will not have a significant economic impact upon a substantial number of small entities within the
meaning of the Regulatory Flexibility Act, 5 U.S.C. 605 (b), and is deemed by the Commission to be a rule of agency
practice that does not substantially affect the rights or obligations of non-agency parties pursuant to section 804 (3) (c)
of the Congressional Review Act.

Unfunded Mandates Reform Act of 1995

    This rule will not cause State, local, or tribal governments, or the private sector, to spend $100,000,000 or more in
any one year, and it will not significantly or uniquely affect small governments. No action under the Unfunded
Mandates Reform Act of 1995 is necessary.

Small Business Regulatory Enforcement Fairness Act of 1996

     This rule is not a major rule as defined by section 804 of the Small Business Regulatory Enforcement Fairness Act
of 1996. This rule will not result in an annual effect on the economy of $ i00,000,000 or more; a major increase in costs
or prices; or significant adverse effects on the ability of United States-based companies to compete with foreign-based
companies.
List of Subjects in 28 CFR Part 2

        Administrative practice and procedure, Prisoners, Probation and parole.

The Interim Rule

        Accordingly, the U.S. Parole Commission is adopting the following amendment to 28 CFR Part 2.
PART       2--IAMENDED]
        1. The   authority citation for 28 CFR Part 2 continues to read as follows:
        Authority: 18 U.S.C. 4203 (a) (1) and 4204 (a) (6).
        2. Amend    § 2.8 by revising paragraph (c) and adding paragraph (e). The revised and added texts read as follows:
§ 2.8      Mental competency          proceedings.


      (c) Whenever the      h•aring
                              examiner(s) or designated official determine that a prisoner is mentally incompetent and
postpone the previously scheduled hearing, they shall forward the record of the preliminary hearing with their findings
to the Regional Commissioner for review.

     (1) In the case of a prisoner, if the Regional Commissioner concurs with their findings, the Commissioner shall
order the temporarily postponed hearing to be postponed indefinitely until such time as it is determined that the prisoner
has recovered sufficiently to understand the proceedings. The Regional Commissioner shall require a progress report on
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the mental health of the prisoner at least every six months. When the Regional Commissioner determines that the
prisoner has recovered sufficiently, the Commissioner shall reschedule the hearing for the earliest feasible date.
    (2) In the case of a parolee in a revocation pr0eeeding, the Regional Commissioner shall postpone the revocation
hearing and order that the parolee be given a mental health examination in a suitable facility of the Bureau of Prisons or
the District of Columbia. The postponed revocation hearing shall be held within 60 days, or as soon as a satisfactory
mental health report is submitted. The Regional Commissioner shall order that appointment of counsel be sought in any
case where the parolee does not have counsel for the revocation hearing. If the parolee's mental incompetency is raised
at a preliminary interview or probable cause hearing, the Commission (or hearing official) will make a determination of
probable cause and, if probable cause is found, schedule a revocation hearing as provided in this paragraph.


     (e) At a postponed revocation hearing under this section, the hearing examiner shall make a preliminary
determination as to the parolee's mental competency, taking into account all available mental health reports, any
evidence submitted on the parolee's behalf, any report from counsel as to counsel's ability to communicate with the
parolee, and the parolee's own responses to the examiner's questioning.
     (1) If the hearing examiner determines the parolee to be mentally competent, the examiner shall conduct the
revocation hearing. If counsel has previously asserted the parolee's incompetence, the examiner shall offer counsel a
brief recess to consult with the parolee before proceeding.

     (2) If the hearing examiner determines the parolee to be mentally incompetent, the examiner shall conduct the
revocation hearing, and shall take into full account the parolee's mental condition in determining the facts and
recommending a decision as to revocation and reparole.
     (3) If the Commission revokes parole, the Commission may grant reparole conditioned on the parolee's acceptance
into a particular type of mental health program prior to release from prison, or may grant reparole with a special
condition of supervision that requires appropriate mental health treatment, including medication. In cases where no
other option appears appropriate, the Commission may grant reparole conditioned upon the parolee's voluntary
self-commitment to a mental health institution until such time asthe parolee has sufficiently recovered for the
Commission to permit the parolee's return to supervision.

     (4) If the Commission finds that the parolee did not commit the charged violations of parole, but also finds that the
parolee is unable to fulfill the normal obligations of a parolee by reason of his mental condition, the Commission may
reinstate the parolee to parole with any appropriate special condition, including the special condition, if necessary, that
the parolee voluntarily commit himself to a mental institution until such time as the parolee has sufficiently recovered
for the Commission to permit a return to supervision.

    Dated: December      12, 2003.
Edward F. Reilly, Jr.,

Chairman, U.S. Parole Commission.

[FR Doc. 03-31293 Filed 12-18-03; 8:45 am]
    BILLING CODE 4410-31-P
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                        EXHIBIT 9
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  Kate Richardson

   From:         Jessica Devencenzi   [Jessica.Devencenzi@doj.ca.gov]
  Sent:        Thursday, April 03, 2008 5:20 PM
  To:          Ginny Morrison; Ernest Galvan; Lori E. Rifkin; Chase Riveland
  Cc:          Bruce.Slavin@cdcr.ca.gov; Katherine Nelson; Debbie Vorous; Vickie Whitney
  Subject:     Valdivia: Defendants' Plan relating to Incompetent Parolees
  Attachments: Ltr to SM Riveland.pdf; Ltr to SM Riveland.pdf; Ltr to SM Riveland.pdf; Ltr to SM
               Riveland.pdf; Ltr to SM Riveland.pdf; Ltr to SM Riveland.pdf

All:

Attached please find Defendants' comprehensive    plan relating to incompetent parolees, as well as
the policies and procedures.

If you have questions please feel free to contact me.

Thank you,

Jessica

Jessica R. Devencenzi
Deputy Attorney General
Correctional Law Section
Office of the Attorney General
(916)322-6104
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     COMPREHENSIVE PLAN ADDRESSING THE NEEDS OF PAROLEES IN THE
         REVOCATION PROCESS WHO ARE MENTALLY INCOMPETENT


    Procedure for Parolees in the Revocation Process who          are   Mentally Incompetent
    Applicable Standard
    The standard that will dictate the minimum level of competency required for determining
    whether a parolee can participate in his/her revocation hearing is as follows: "A parolee
    is mentally incompetent for purposes of participating in his/her revocation hearing if, as a
    result of a mental disorder, he/she is unable to understand the nature of the proceedings
    taken against him/her or to assist counsel in the conduct of a defense in a rational
    manner."

    Parole Hold

    The Parole hold is placed per current policy and procedure.

    Upon arrival at a CDCR Reception Center (RC), parolees will continue to be screened by
    medical staff at the bus screening. If medical screening reveals the need for immediate
    psychiatric treatment, the parolee will be referred to CDCR Mental Health for evaluation
    and appropriate treatment. All incoming inmates are subsequently screened by mental
    health clinicians regardless of the outcome of the bus screening and those found positive
    at this screening receive further evaluation by Mental Health.

    If the parolee is in custody at a county jail, and has been identified as being in need of a
    mental health assessment and/or treatment, transfer to a CDCR RC will be expedited,
    where possible, in order to secure psychiatric treatment within the CDCR. The transfer
    will occur promptly following the completion of Notice of Rights/Charges (NOR).
    If the parolee does not have local criminal charges pending, the BRR will facilitate the
    expedited transfer of the parolee to a CDCR institution.
    If the parolee has pending local criminal charges, the BRR will contact the appropriate
    jail staff to advise that the parolee needs a psychiatric evaluation.
    The BRR shall facilitate the applicable transfer or notification ofj ail staff immediately;
    preferably on the same day of notification by the Notice Agent, but no later than noon on
    the following business day.

    Probable Cause Determination       (PCD)
    Probable Cause Determination/case conference occurs per current policy and procedure.
    The PCD will occur no later than two calendar days from placement of the parole hold (if
    time line expires on a weekend/holiday, the NLT date is the next business day).
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    Notice of Rights/Charges (NOR)

    The parolee will be served with his/her Notice of Rights/Charges no later than three
    business days following placement of the parole hold.

    A case may be flagged by the Agent of Record and/or Unit Supervisor, by noting the
    parolee's mental health concerns on the Charge Report (1502B) in the body of the report
    and/or in the Unit Supervisor's comments/recommendations.

    When serving the NOR, if the Notice Agent determines that the parolee appears to have
    difficulty understanding his/her rights and/or charges and the Notice Agent believes the
    parolee's difficulty understanding may be the result of mental illness, the Notice Agent
    will indicate this on the Notice and Request for Assistance at a Parole Proceeding, BPT
    1073. The Notice Agent who identifies a parolee with possible mental health concems
    during the Notice of Rights/Charges shall:
    For inmates/parolees housed in a county jail:

        Document the mental health concems by checking the box "Appears to have
        difficulty understanding" on the BPT 1073 in Section III, Initial Service of Rights
        and writing in the "comments" section "MH concern notified BRR on XX/XX/XX
        (date)".
        Notify the Board Revocation Representative (BRR).      This shall involve direct
        contact, not voice mail.
    For inmates/parolees housed in an institution:

        Document the mental health concems by checking the box "Appears to have
        difficulty understanding" on the BPT 1073 in Section III, Initial Service of Rights and
        writing in the "comments" section "MH concern notified MH staff on XX/XX/XX
       (date)".
       Telephonically contact the appropriate mental health staff at the institution in which
       the parolee is located in order to inform them that immediate mental health attention
       may be needed. This shall involve direct contract, not voice mall.


    Information regarding the inmate's/parolee's perceived inability to understand
    information communicated and mental health concerns shall be entered into the
    Disability and Effective Communication System (DECS) within one business day. The
    completed NOR packet will be promptly returned to the respective field unit.
    All Notice Agents will be provided with:
    •   A list of the institutional Chief of Mental Health [and their designee] and Registered
        Nurses for CDCR institutions
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    *   County Jail Mental Health liaisons
    •
        Board Revocation Representative (BRR) contact listing

    The Supervising Notice Agent will be responsible for ensuring staff under their
    supervision receives adequate training, necessary contact information, and overall
    compliance with this portion of the process.
    Return to Custody Assessment (RTCA)

    The RTCA will be completed no later than 10 business days from placement of the parole
    hold.

    The DC will make a remm to custody assessment based on the standard factors used in
    the parole revocation process. If at the RTCA the DC is presented with information that
    indicates the parolee may be incompetent (e.g. documents/information from DAPO,
    information entered into RSTS, or information from the parolee's attorney), the DC will
    note on the BPT 1104 that an evaluation to determine if the parolee is incompetent may
    be necessary. The final determination for the need of the evaluation will be determined at
    the PCH or Revocation Hearing.

    Attorney Consultation with Parolee
    A case may be flagged as a "Mental Health concem case" at the attomey consultation
    step of the revocation process. When interviewing a parolee who is facing possible
    revocation, if the attorney determines that the parolee appears to have difficulty
    communicating with the attorney, and the parolee has a history of mental illness, or the
    attomey believes the parolee's difficulty understanding may be the result of mental health
    concerns, the attorney will contact DRU staff immediately following the initial
    attomey/client interview in order to flag the case for possible mental health concerns.
    DRU staff will make an entry into DECS noting that they received contact from the
    attomey expressing mental health concems regarding their client.
    If a parolee is being treated in a Mental Health Crisis Bed (MHCB) at the time of the
    attorney/client interview, the attorney will be able to contact MHCB IDTT staff to
    procure information regarding the parolee's ability to be escorted to an appropriate,
    secure visiting area in order to conduct the attorney/client interview. IfMHCB IDTT
    staff informs the attorney that a clinical determination has been made that the parolee is
    unable to be escorted to the visiting area, then the attorney will defer to the judgment of
    the clinical staff. Defense counsel has the option to periodically follow-up with MHCB
    IDTI" staff to determine when the parolee can be escorted to visiting. If more than 20
    days expire and the attorney has not had access to his/her client, the attorney may
    schedule an appointment to enter the institution to check on the status of his/her client, if
    possible. Attorney visits will not occur within the CTC.
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     If a parolee in a MHCB is unavailable for the attorney consultation and/or the Probable
     Cause Hearing (PCH), the proceedings will be postponed due to parolee unavailability
     until the attorney can meet with thee parolee.

     Probable Cause Hearing (PCH)

    If at the PCH the DC is presented with information that indicates the parolee may be
    incompetent, (e.g. documents/information from DAPO, observations of the parolee,
    notation on the BPT 1104 or information from the parolee's attorney), the DC will
    consult with the parolee's attomey. If it is determined by the DC that the parolee may be
    incompetent the DC will make a determination of probable cause, if probable cause is
    found, the DC will assess a return to custody period (not to exceed the RTCA), putting
    the parolee in a revoked status. The DC will also order a competency evaluation and
    order that a revocation hearing be scheduled when advised by counsel that the evaluation
    is complete. The scheduling of the revocation hearing shall not exceed 60 days without a
    showing of good cause for the delay or a waiver of time by counsel.
    The DC will review all the charges and supporting information to ensure the existence of
    probable cause to support each charge and probable cause to maintain the hold. Defense
    counsel will be given the opportunity to argue why the charges should be dismissed on their
    face. Unsupported charges will be dismissed. If all charges are dismissed, the DC will order
    the hold removed. If all of the charges have been dismissed, and the parolee appears to have
    mental health concerns, the BPH will notify the AOR of this circumstance which will be
    taken into account regarding the best method to assist the parolee in securing his/her release
    based on existing DAPO policies.

    The order dropping the hold shall include language similar to "return to parole to occur no
    later than 5 business days from the date of this order, to provide the Division of Adult Parole
    Operations time to locate community-based continuity of care within existing resources."
    This will allow DAPO staff time to attempt to secure a proper community placement for the
    parolee.
    If some but not all charges are dismissed an adjustment in the RTCA will be made if
    appropriate. The DC will document on the BPT 1103 PCH the assessed time (RTCA)
    and state that the dispositional phase of the revocation process is delayed in order to
    obtain a competency evaluation for the hearing..

    The DC will prepare the witness list in preparation for the revocation hearing following
    the completion of the evaluation, aj3proving or disapproving both the State and parolee's
    witnesses.

    The parolee's attomey will be given a copy of the DC's decision and be responsible for
    having the evaluation completed. The DC will flag the file in order to notify the DRU
    staff of the need for an evaluation and a revocation hearing when notified by counsel that
    the evaluation has been completed. The BPH staff will update the Disability and
    Effective Communication System (DECS) upon receipt of new information.


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     In the event that the DC determines an evaluation is necessary and the parolee and
     attorney disagree, the DC will contact an ACDC to coordinate obtaining an evaluation.
    The evaluation, when received by the DRU staff will be included in the revocation file,
    faxed to the AOR and CalPAP.

    Once the evaluation is received at the DRU from either the evaluator or counsel, DRU
    staff will schedule a second PCH or revocation heating at the request of parolee's
    counsel. DRU staff will notify the attomey of the date and time of the hearing.

    Once the evaluation is completed and the report is received from the parolee's attorney
    the report will be included in the revocation packet. The DRU staff will schedule the
    parolee on the next available calendar, either a second PCH or RH at the request of the
    parolee's counsel.
    If the parolee is unavailable for the PCH hearing, due to verifiable and documented
    mental health treatment requirements, or he/she refuses to attend the hearing due to
                                                                                          a
    mental illness, the DC may order an evaluation without the parolee's presence at the
    hearing. In order to determine whether an order for an evaluation is needed in this
    situation, the DC may rely on the attomey's statements, as well as past mental health
    information contained in the Disability and Effective Communication System (which
    contains information regarding past chronos identifying placement in a MHCB, EOP
    level of care, past BPT 1073s, etc.), as well as the current BPT 1073. This exception will
    apply only to those parolees who have serious mental disorders requiring acute
    psychiatric care in an in-patient type setting which would render the parolee unable to
    attend a hearing, or the parolee refuses to attend the hearing.

    If the parolee is located at the county jail (but cannot be transferred to CDCR facility
                                                                              a
    because of pending local charges) the BRR, at the conclusion of the PCH, will notified
    the county jail liaison that there are mental health concerns and possible mental health
    treatment is needed. The BRR will notify the DRU staff of the need for treatment and/or
    an evaluation. The DRU staff will await the contact from the contract attorney. The
    assigned contract attomey will case conference the situation with their supervising staff
    attorney. The contract attorney and supervising staff attorney will determine who will
   contact the court attorney and track the parolee's criminal charges progress. The contract
   attorney or supervising staff counsel will contact the court attomey to inquire if the
   parolee's competency is being evaluated for the pending criminal proceedings and if so
   track the progress of the court proceedings. The contract attorney or supervising staff
   attorney will report the results of the contact to the DRU staff, who will enter the status
   into the RSTS comments section. If the parolee is pending a competency evaluation for
   his/her criminal proceedings the contract or supervising staff attorney will have regular
   contact with the criminal attorney and at the conclusion of the evaluation inform the DRU
   staff whether the parolee was determined competent or incompetent. In the event the
   parolee is not being evaluated for competency in his/her court proceedings or the
   competency evaluation is likely to exceed 45 days, the contract or supervising staff
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    attorney representing the parolee in the revocation process shall request the DC at the
    PCH   or   revocation hearing to order an evaluation.

    Health Care Services

    This procedure applies to parolees who a DC determines may be incompetent. BPH will
    advise the Mental Health Program of its concerns. Upon receipt of such notification, the
    mental health program will make contact with the parolee and assess whether the parolee
    meets program guide criteria for inclusion in the Mental Health Treatment System. The
    procedure is as follows:
    The Deputy Commissioner shall document his/her concems on the 1103, describing the
    parolee's behavior in the hearing, notify the Decentralized Revocation Unit (DRU), and
    transmits (via fax or email) the referral document to the DRU.

        The DRU staff shall contact the Division of Correctional Health Care Services Mental
        Health Program headquarters in Sacramento (using a list of Senior Psychologist,
        Specialists, supervised by a Chief Psychologist) and delivers (via email or fax) the
        referral document.
        The Division of Correctional Heath Care Services, Mental Health Program
        headquarters shall contact the Chief of Mental Health (or designee) of the prison
        where the parolee is located who shall assign a mental health clinician to complete an
        assessment, and
        A mental health clinician shall assess the patient based on Mental Health Service
        Delivery System Program Guide criteria to determine whether placement in the
        Mental Health Treatment System is appropriate.

    Revocation Hearing (RH) or PCH          Following Receipt of Evaluation
    If at the RH, where no competency evaluation was requested at the PCH, the DC is
    presented with information that indicates the parolee may be incompetent, (e.g.
    documents/information from DAPO, observations of the parolee, notation on the BPT
    1104 or information from the parolee's attorney), the DC shall complete the fact-finding
    phase of the revocation hearing. The dispositional phase of the revocation hearing shall
    be continued, if requested by the parolee, for a reasonable time, not to exceed 60 days,
    until the competency evaluation can be submitted to the board for consideration and
    inclusion in the dispositional  phas•of the hearing. The DC will notify the DRU staffof
    the need for treatment and/or an evaluation. The BPH staff will update the Disability and
    Effective Communication System (DECS) upon receipt of new information

    The BPH staff will follow the same procedures as outlined above for the PCH.

    If at a RH where a competency evaluation was requested, at a previous PCH, and the
    evaluation is present, the fact-finding phase of the hearing will be conducted as any other
    revocation hearing. The competency evaluation is to be considered in the dispositional
    phase of the hearing. The Board shall consider the results of the evaluation in making the
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    decision on whether or not to revoke, reinstate on parole, or recommend other remedial
    sanctions.

    If at a RH where a competency evaluation was requested, at a previous RH, and the
    evaluation is present, the results of the fact-finding phase of the hearing will be
    summarized on the tape, but shall not be reheard. The competency evaluation is to be
    considered in the dispositional phase of the heating. The Board shall consider the results
    of the evaluation in making the decision on whether or not to revoke, reinstate on parole,
    or recommend other remedial sanctions.

    If at a PCH following an evaluation, the PCH negotiations will resume and the DC will
    consider the results of the evaluation in making the decision on whether or not to revoke,
    reinstate on parole, or recommend other remedial sanctions.

    At the hearing requested by counsel after an evaluation has been obtained, either a second
    PCH or a RH, the DC will not be botmd by the RTCA offer, but must consider the
    determination of competency at the dispositional phase.

    At the hearing requested by counsel after an evaluation has been obtained, either a second
    PCH or a RH, the DC will not be bound by the RTCA offer, but will strongly consider
    the RTCA in assessing any retum to custody. If the DC under these circumstances is
    assessing time which exceeds the RTCA the DC will clearly justify the higher
    assessment. The DC must also consider the determination of competency at the
    dispositional phase.
    If good cause is found for one or more charged violations and the parolee is assessed
    time, and is subsequently determined to have recovered his or her competency, the
    parolee may request that the matter be reheard. Such request shall be made in writing.
    The BPH shall then reschedule a new RH for the earliest date practical. At the new
    hearing the DC may rely entirely on BPH 1103 PCH and Revocation Hearing decisions
    and shall not require the attendance of any witness who testified at the prior hearing in
    the absence of a finding of good cause.

    Competency Evaluation
    The attorney representing the parolee shall obtain the services of the mental health
    clinician responsible for evaluating the parolee's competency. The evaluator shall be
    selected from a list of qualified clinicians maintained by CalPAP.

    Mental Health Treatment in CDCR

    Once a parolee has been revoked at the PCH or RH and it has been determined the
    parolee may be in need of mental health treatment the parolee must be placed in
    treatment as any other inmate.
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    These individuals may require placement in a Reception Center EOP program while their
    mental health condition is addressed. DRU staff will track these parolees and notify the
    Chief of Mental Health or their designee (RC Senior Psychologist Supervisor) and the
    Reception Center Correctional Counselor III [RC CC III] of any inmate patient who
    arrives at an RC as a result of being found unable to meaningfully participate in their
    BPH hearing (and who as a result are remanded for treatment of this impediment). These
    patients will be placed in RC EOP or higher level of care to receive treatment at that
    level.

    The Mental Health Program Guide describes additional treatment options which are
    available to inmates and parolees.

    The Chief of Mental Health or their designee will be the primary clinical contact and will
    interface as requested with DAPO and/or POC.

    Follow-up to Determine Parolee's Mental Status
    DRU staff will be contacted by the parolee's attorney when the competency evaluation is
    completed. The competency evaluation will be faxed to the DRU and included in the
    revocation pack. The DRU staff will place the parolee on the next available PCH or RH
    calendar, at the request of counsel, after receiving the evaluation report. Information will
    be updated in RSTS comments.

    The parolee's counsel will be notified of the new hearing date and time in order to
    prepare for the hearing(s). The time of the delay to obtain the evaluation will be added to
    the PCH NLT and the RH NLT.

    The parolee will not be responsible for contacting the DRU to reactivate their case. Once
    DRU staff has been contacted by the parolee's attorney and received the evaluation
    stating the parolee is able to proceed, the DRU staff will schedule the PCH or Revocation
    Hearing.
    If after the final PCH or RH the attomey contacts the DRU staff for a new hearing for
    reconsideration, the request must be in writing. The DRU staff will forward the written
    request in to the ACDC. If the request is granted the DRU staff will be instructed by the
    ACDC to schedule a new PCH or a new RH.

    If an evaluation has been ordered by the DC, but prior to the evaluation being done the
    attorney and parolee determine the parolee is competent to go forward, the attorney shall
    send a written request for the cancellation of the order to have an evaluation and request
    that a hearing be scheduled based on the parolee's ability to go forward to the DRU. The
    DRU staff will forward the request to the ACDC or designee for review and decision. If
    the ACDC or designee agrees, the order for the evaluation will be cancelled and the DRU
    staff will be instructed to schedule a hearing.
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     Remedial Sanctions

     Remedial sanctions will be considered throughout the revocation process for all parolees
     that meet the criteria for an alternate program. Mentally ill parolees are not excluded
     from participation in remedial sanctions programs based solely on their mental illness.
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     COMPREHENSIVE TRAINING PLAN

    The DCs will be provided with training designed for the lay person, which will assist
    them in making a determination whether to suspend proceedings and request treatment
    and/or order an evaluation to determine whether the parolee is able to meaningfully
    participate in the parole revocation process. In determining whether or not a competency
    evaluation should be pursued, the DC should inquire, of the parolee and his/her counsel,
    about the parolee's:

    •        Level of unmanageable behavior
    •        The quality of his/her ability to relate to the attomey
    •        Ability to assist in planning a legal strategy or defense
    •        Understanding of the charges
    •        Understanding of the range and nature of possible penalties
    •     Ability to appraise likely outcomes
    •     Capacity to convey to his/her attorney pertinent facts about the offense/violation
    •     Capacity to testify in his/her own defense if need be
    •     Demonstration of self-serving as opposed to self-defeating actions

    BPH, DAPO, Case Records, contract clinicians, CalPAP and Mental Health staff will be
    trained regarding this new process.

    Case Records will train its staff using an instructional memorandum and follow-up
    conference call with pertinent staff involved in this process.

    DAI will train its staff using an instructional memorandum and follow-up conference call
    (if needed) with pertinent staff involved in this process.
    DAPO        Training
    Training for F UNA/D R UNA/SNA
    DAPO will utilize its existing budget to fund the training of the FUNAs, DRUNAs and
    SNAs. Providing the policy is finalized, during the month of May 2008, DAPO will conduct
    one      training session at each Regional Headquarters for their respective FUNA/DRUNA/SNA
    staff.

    DAPO anticipates that training can be accomplished by June 1, 2008, provided the policy
    memorandum is available prior to May 1, 2008. (If the memorandum is not available until
    after May 1, 2008, it may be necessary to reschedule training for a later date, as needed.)




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     Training will consist of:
     Instructors      Parole Outpatient Clinic (POC) Staff

             1.    Signs/Symptoms of Mental Illness       Using the departmental approved training
                   module, POC staff will provide training. (60 minutes).
     Instructors      DAPO    HQ's ADA/Revocation Unit Staff
                   Mentally Ill Policies and Procedures Overview (30 minutes). Will distribute
                   copies of policy memorandum. Review and allow for question/answer period.
                   DEC system refresher training (30 minutes). Training will consist of a Power
                   Point presentation to ensure staff are familiar with navigating through various
                   aspects of the DEC system, proper entry of data, and a Question/Answer period to
                   allow staff opportunity to address problems/concerns and introduce new
                   electronic worksheet to be used by field staf£

    Instructors        Supervising Notice Agent primary, DAPO HQ             ADA/Revocation Unit
    Staff, secondary
            1.     Roles and Responsibilities of FUNAs/DRUNAs       (30 minutes).
    Training for DAPO FieM Staff
    DAPO field staff will be provided training at the unit level via memorandum. This includes,
    but is not limited: parole agents, unit support staff, and Parole Outpatient Clinic staff.

    An instructional email will be sent to all DAPO field staff notifying them of the policy and
    availability of the document on DAPO's Policy Memorandum website. The email will direct
    Unit Supervisors to ensure field staff are familiar with the policy by providing informal
    training, individually, or in a group setting, no later than June 1, 2008, or within 30 days of
    the issuance of the policy memorandum; whichever is later.

    BPH Trainine

    In the April 2008, DC, CC I & II and OSM I will be receiving training.

    Included in the DCs training, scheduled to begin April 2008 will be training designed for
    the lay person, which will assist them in making a determination whether to suspend
    proceedings and request an evaluation to determine whether the parolee is able to
    meaningfully participate in the parole revocation process.
   Before May 31, 2008, the BPH's Policy and Procedures will be mailed to the Associate
   Deputy Commissioners (ACDC), Office Service Managers Is (OSM I) and Correctional
   Counselor IIs (CCII). Before May, 31, 2008, by conference call, the ACDCs, OSM Is and
   CC IIs will be trained in the new process.



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    Before May 31, 2008 the BPH's Policy and Procedures (P&Ps) will be mailed to all DCs,
    BRRs, and DRU staff. ACDCs and CCIIs will, by conference call, review and answer
    questions regarding the new P&Ps.




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    FINANCING FOR COMPETENCY EVALUATIONS

    Financing is available for the present contract (ending June 30, 2008). The anticipated
    costs of the evaluations can be absorbed in the present funding. The funding for the next
    contract beginning July 1, 2008 (4 year duration) will be available when the contract is
    finalized and an amendment is submitted for the additional funding for the competency
    evaluations.

    No additional funding is required to train BPH staf£

    CalPAP is able to absorb the training costs associated with this process in their current
    contract with the state.

    BPH has training dollars that they can use for training BPH staff on this new process. No
    additional funding is required to train BPH staff.




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    STATEWIDE IMPLEMENTATION

    The new process, if all negotiations have concluded or there is agreement pending conclusion
    of negotiation and finalization will be implemented June 15, 2008.




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